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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                                  )
     In re:                                                       )       Chapter 11
                                                                  )
     LAVIE CARE CENTERS, LLC, 1                                   )       Case No. 24-55507 (PMB)
                                                                  )
                              Debtors.                            )       (Jointly Administered)
                                                                  )


 DEBTORS’ OBJECTION TO CLAIM NO. 5247 FILED BY THE INTERNAL REVENUE
   SERVICE OR, IN THE ALTERNATIVE, DEBTORS’ MOTION FOR ENTRY OF
    ORDER DETERMINING TAX LIABILITY PURSUANT TO 11 U.S.C. § 505(a)

              LaVie Care Centers, LLC (“LaVie”) 2 and certain of its affiliates and subsidiaries, as

 debtors and debtors-in-possession (collectively, the “Debtors”) in the above-captioned chapter 11

 cases (collectively, the “Chapter 11 Cases”), hereby object (this “Objection”) to Claim No. 5247

 (the “IRS ERTC Claim”) 3 filed by the Internal Revenue Service (the “IRS”) and seek entry of an

 order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”), disallowing

 the IRS ERTC Claim in its entirety. In the alternative, the Debtors seek a determination of tax

 liability with respect to the amounts set forth in the IRS ERTC Claim pursuant to section 505(a)

 of title 11 of the United States Code (the “Bankruptcy Code”). In support thereof, the Debtors

 respectfully represent as follows:




 1
       The last four digits of LaVie Care Centers, LLC’s federal tax identification number are 5592. There are 282
       Debtors in these chapter 11 cases, which are being jointly administered for procedural purposes only. A complete
       list of the Debtors and the last four digits of their federal tax identification numbers are not provided
       herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
       agent at https://www.veritaglobal.net/LaVie. The location of LaVie Care Centers, LLC’s corporate headquarters
       and the Debtors’ service address is 1040 Crown Pointe Parkway, Suite 600, Atlanta, GA 30338.
 2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan (as
       defined herein).
 3
       A copy of the IRS ERTC Proof of Claim is attached hereto as Exhibit B.
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                                 PRELIMINARY STATEMENT

        1.      Since the commencement of these Chapter 11 Cases, the Debtors have worked

 diligently to preserve the value of their estates and negotiate in good faith with various

 constituencies to maximize creditor recoveries, all while prioritizing continuity of resident care in

 their skilled nursing facilities. The Plan—which was recently confirmed by this Court—is the

 culmination of these efforts. It will enable the Debtors, if consummated, to (a) provide a

 comprehensive solution for continuing operations of their skilled nursing facilities, (b) pay or

 otherwise satisfy all administrative, priority, and secured claims (subject to the tax liability

 determination requested herein), and (c) provide for meaningful recoveries to unsecured creditors.

        2.      However, the go-forward viability of the confirmed Plan is now in jeopardy. Six

 months after the Petition Date, and more than a year after the Debtors received Employee Retention

 Tax Credits (“ERTC”), the IRS filed the IRS ERTC Claim for over $31 million in ERTCs

 (essentially the entire amount received by the Debtors to date), $29 million of which the IRS asserts

 as a Priority Tax Claim. Though filed as a “protective” proof of claim, the IRS ERTC Claim is

 not supported by any evidence that (a) the Debtors were not entitled to claim or receive the ERTCs,

 (b) the Debtors improperly or fraudulently claimed the ERTCs, or (c) such ERTCs were

 wrongfully awarded to the Debtors. Indeed, the Debtors are unaware of any analysis or audit to

 date by the IRS reflecting that the Debtors were not entitled to receive the ERTCs and the only

 supporting documentation attached to the IRS ERTC Claim is a spreadsheet enumerating the

 ERTCs received by each applicable Debtor entity. Unfortunately, this woefully unsubstantiated

 IRS ERTC Claim, particularly to the extent it constitutes a valid Priority Tax Claim, severely

 threatens the Debtors’ ability to (a) consummate the transactions contemplated under the Plan,




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 (b) facilitate any unsecured creditor distributions, and (c) allow for the ongoing continuity of

 operations, all to the detriment of the Debtors’ estates, creditors, and residents alike.

        3.      Despite the Debtors’ best efforts to expeditiously resolve this gating issue since the

 confirmation hearing on November 14, 2024, little progress has been made with regard to the IRS

 ERTC Claim, as the IRS continues to insist upon engaging in a lengthy investigation involving a

 protracted discovery and litigation process. The Debtors remain committed to working in good

 faith with the IRS towards resolution of the IRS ERTC Claim and have promptly provided

 supporting documentation with respect to the ERTCs in response to various informal inquiries

 made by the IRS, as the Debtors believe that they were entitled to claim and receive the ERTCs

 and are prepared to demonstrate as such at any substantive hearing on this issue. Ultimately, this

 prolonged, drawn-out process is not workable for the Debtors, given the detrimental impact that

 the IRS ERTC Claim may have on the Debtors’ post-confirmation DIP budget and the feasibility

 of the Plan, not to mention the potential to indefinitely delay and/or entirely prevent the Debtors’

 consummation of the confirmed Plan. Accordingly, it is essential that the IRS ERTC Claim, which

 remains unsubstantiated and unsupported by any evidence to date, is promptly disallowed in its

 entirety. In the alternative, the Debtors believe that this Court must undertake a prompt, expedited

 determination of the Debtors’ purported tax liability set forth in the IRS ERTC Claim pursuant to

 Bankruptcy Code section 505(a), which the Debtors believe is $0.

                                       RELIEF REQUESTED

        4.      By this Objection, the Debtors respectfully request entry of the Proposed Order

 pursuant to Bankruptcy Code sections 105(a) and 502 (a) disallowing the IRS ERTC Claim in its

 entirety; and (b) granting any other and further relief that this Court deems just and proper. In the




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 alternative, the Debtors seek a determination, pursuant to Bankruptcy Code section 505(a), that

 their tax liability with respect to the IRS ERTC Claim is $0.

                                 JURISDICTION AND VENUE

        5.      The United States Bankruptcy Court for the Northern District of Georgia, Atlanta

 Division (the “Court”) has jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and the Objection

 in this District is proper under 28 U.S.C. §§ 1408 and 1409.

        6.      The legal predicates for the relief requested herein are Bankruptcy Code sections

 105(a), 502, and 505(a), Rule 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), and Rule 3007-1 of the Local Rules of the United States Bankruptcy Court for the

 Northern District of Georgia (the “Local Rules”).

                                         BACKGROUND

 I.     The Debtors’ ERTCs

        7.      Congress enacted the Coronavirus Aid, Relief, and Economic Security Act

 (the “CARES Act”) on March 27, 2020 to address the negative economic impact of the COVID-

 19 pandemic in the United States. As part of the CARES Act, Congress created the ERTC, a fully

 refundable payroll tax credit, to provide aid to employers impacted by the COVID-19 pandemic.

 The ERTC was available to eligible employers from March 13, 2020 to September 30, 2021. As

 originally passed, the ERTC was available to eligible employers from March 13, 2020 to

 December 31, 2020 at a rate equal to fifty percent (50%) of up to $10,000 of qualified wages paid

 by eligible employers per quarter in 2020. Subsequent legislation in March 2021 increased the

 rate of the credit to seventy percent (70%) of up to $10,000 in qualified wages paid by eligible

 employers per quarter in 2021. The IRS published certain guidance and FAQs on taxpayer




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 eligibility at the time the ERTC program was enacted; however, the guidance was somewhat

 limited and continued to be updated in real time, including after ERTC claims were already filed,

 causing confusion amongst taxpayers.

         8.       Following passage of the CARES Act, the Debtors indirectly retained Synergi

 Partners, Inc. (“Synergi”), 4 a tax credit consulting company with significant ERTC expertise, to

 assist with analyzing their eligibility for the ERTC and calculating the amount of the ERTC

 claimed by the eligible employers within the Debtors’ controlled tax groups. Based on Synergi’s

 analysis, the Debtors were eligible to claim the ERTC because the Debtors’ operations were

 partially suspended due to governmental orders limiting commerce, travel or group meetings.

 Despite being an essential business, more than a nominal portion of the Debtors’ business

 operations were suspended as a result of numerous governmental orders, including those requiring

 the Debtors to comply with orders from the Centers for Disease Control and Prevention

 (the “CDC”) and Occupational Safety and Health Administration (“OSHA”). Because the Debtors

 qualified as a “large employer” for purposes of claiming ERTCs in 2020 and 2021, the Debtors

 claimed the ERTC based on wages paid employees for time the employees were not providing

 services. In early 2023, based on Synergi’s guidance, the Debtors filed several Form 941-X:

 Adjusted Employer’s Quarterly Federal Tax Return or Claim for Refund to request ERTCs for the

 second, third, and fourth quarters of 2020 and the first, second, and third quarters of 2021. In the

 fall of 2023, the Debtors collectively received $31,850,378 in ERTCs from the IRS (the “Paid

 ERTCs”) 5 and an additional $3,767,959 in requested ERTCs remains outstanding (the “Unpaid



 4
     Pourlessoins, LLC (d/b/a Synergy Healthcare Services) (“Synergy”) provides back-office services to the Debtors,
     including tax services. Synergy directly engaged Synergi to provide such services on behalf of the Debtors. The
     similarity in trade names is purely coincidental—Synergi is an independent, third-party provider of tax services,
     and is in no way related to, or affiliated with, the Debtors or Synergy.
 5
     A spreadsheet summarizing the Paid ERTCs and the Unpaid ERTCs is attached hereto as Exhibit C.



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 ERTCs”). The ERTCs received by the Debtors were offset by certain other payroll tax obligations,

 including deferred payroll taxes, for a net of approximately $20.1 million in ERTCs.

           9.       While the ERTC program was enacted to help businesses during the COVID-19

 pandemic, it was regrettably abused by certain entities and aggressive, predatory marketing

 schemes led to taxpayers filing improper or even fraudulent ERTC claims. As a result of an

 increase in questionable claim submissions, the IRS placed a moratorium on new ERTC claim

 processing on September 14, 2023 and slowed processing of claims that were already submitted

 to allow for detailed compliance review. 6 The IRS lifted the moratorium on August 8, 2024. 7

           10.      Unlike certain claimants who received disallowance letters from the IRS, the

 Debtors were never contacted by the IRS regarding any issues with their eligibility for the ERTCs

 prior to the commencement of these bankruptcy proceedings, and, to the Debtors’ knowledge, the

 IRS did not previously undertake any analysis, audit, or investigation of the Debtors’ claimed or

 received ERTCs.

 II.       The Chapter 11 Cases

           11.      On June 2, 2024 (the “Petition Date”), each Debtor commenced a case by filing a

 petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”)

 in the United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division




 6
       See IRS News Release, To protect taxpayers from scams, IRS orders immediate stop to new Employee Retention
       Credit processing amid surge of questionable claims; concerns from tax pros, Sept. 14, 2023,
       https://www.irs.gov/newsroom/to-protect-taxpayers-from-scams-irs-orders-immediate-stop-to-new-employee-
       retention-credit-processing-amid-surge-of-questionable-claims-concerns-from-tax-pros.
 7
       See IRS News Release, IRS moves forward with Employee Retention Credit Claims: Agency accelerates work on
       complex credit as more payments move into processing; vigilance, monitoring continues on potentially improper
       claims, Aug. 8, 2024, https://www.irs.gov/newsroom/irs-moves-forward-with-employee-retention-credit-claims-
       agency-accelerates-work-on-complex-credit-as-more-payments-move-into-processing-vigilance-monitoring-
       continues-on-potentially-improper-claims.



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 (the “Court”). The Debtors are operating their businesses and managing their property as debtors-

 in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

          12.   On June 13, 2024, the Office of the United States Trustee for Region 21

 (the “U.S. Trustee”) appointed an official committee in the Chapter 11 Cases (the “Committee”).

 See Docket No. 112. To date, no trustee or examiner has been appointed in the Chapter 11 Cases.

          13.   On November 14, 2024, the Court held a hearing (the “Combined Hearing”) on,

 among other things, confirmation of the Debtors’ Modified Second Amended Combined Disclosure

 Statement and Joint Chapter 11 Plan of Reorganization [Docket No. 680] (the “Plan”). On

 December 5, 2024, the Court entered an order confirming the Plan. See Docket No. 735. Pursuant

 to the Plan, Priority Tax Claims (as defined therein) must be paid in full by the Reorganized

 Debtors. See Plan, Art. IV.B. To the extent that a final determination of the IRS ERTC Claim

 does not occur promptly, the Plan may no longer be feasible, given the magnitude of the IRS ERTC

 Claim.

 III.     Discussions with the IRS in Connection with Plan Confirmation

          14.   In October 2024, the IRS contacted the Debtors and requested information

 regarding the Paid ERTCs and Unpaid ERTCs. On October 3, 2024, and October 28, 2024, the

 Debtors provided responsive information to the IRS, including spreadsheets summarizing the Paid

 ERTCs and Unpaid ERTCs on a Debtor-by-Debtor basis. The Debtors did not hear anything else

 from the IRS on this issue until the IRS filed its confirmation objection.

          15.   On November 4, 2024, the IRS filed the Objection to Debtors’ Second Amended

 Combined Disclosure Statement and Confirmation of the Joint Chapter 11 Plan of Reorganization

 [Docket No. 626] (the “IRS Objection”). Among other things, the IRS indicated that it was

 currently “evaluating the validity of” the ERTCs, “including whether any previously allowed




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 credits were allowed in error.” IRS Obj., ¶ 17. The IRS indicated that if it determined that certain

 ERTC claims were allowed in error and asserts an erroneous refund claim, the erroneous refund

 claim would have the same priority status as would the underlying tax. See id. As discussed

 below, the Debtors engaged in good faith negotiations with the IRS following the filing of the IRS

 Objection and agreed to reserve the ERTC issues for an expedited process post-confirmation,

 which the Debtors have kickstarted with the filing of this Objection.

         16.      On November 12, 2024—two days before the Combined Hearing—the IRS sent a

 letter to Debtors’ counsel (the “Nov. 12 IRS Letter”), 8 requesting “facts and documents” that show

 that the Debtors’ claimed ERTCs and apprising the Debtors that the IRS may need to protectively

 amend the IRS’ proofs of claim filed to date to include an estimated claim totaling $31,850,378 in

 “erroneous refunds.”        The IRS also requested an extension of the governmental bar date

 (November 29, 2024) (the “Governmental Bar Date”) to allow for time for such amendment.

 Following receipt of the Nov. 12 IRS Letter, the Debtors quickly engaged in discussions with the

 IRS regarding the ERTCs, given the potential magnitude of the Priority Tax Claim associated

 therewith and its impact on the Plan’s feasibility. The Debtors agreed to provide additional

 information to the IRS and committed to working in good faith with the IRS post-confirmation to

 reach an expedited determination of the Debtors’ ERTC eligibility and/or related liability.

         17.      On November 27, 2024, the Debtors sent a response to the IRS (the “Nov. 27

 Response Letter”), 9 which included, among other things, supporting schedules delineating the Paid

 ERTCs and the Unpaid ERTCs on a Debtor-by Debtor basis as well as an explanation of the

 analysis undertaken by Synergi to calculate the amount of qualified wages “qualified wages” paid



 8
     A copy of the Nov. 12 IRS Letter is attached hereto as Exhibit D.
 9
     A copy of the Nov. 27 Response Letter is attached hereto as Exhibit E.



                                                         8
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 to employees for the time employees were “not providing services” during the period that the

 Debtors’ were eligible to claim the ERTC.

           18.      On December 3, 2024, the Debtors and the IRS met and conferred again. The

 Debtors previewed that they would be filing this Objection in the near term and the IRS indicated

 that it would be serving ERTC-related discovery requests on the Debtors in the coming days. No

 such discovery requests have been received by the Debtors to date.

 IV.       IRS Proofs of Claim

           19.      In advance of the Governmental Bar Date, the IRS filed hundreds of proofs of claim

 (collectively, the “IRS Proofs of Claim”) against various Debtor entities for, among other things,

 purportedly unfiled tax returns, outstanding tax payments, and related fees and penalties. 10 In the

 past few weeks, the Debtors have provided numerous materials to the IRS to date to dispute the

 accuracy of various IRS Proofs of Claim and the Debtors expect that the IRS will amend or

 withdraw certain IRS Proofs of Claim following its review of the supporting materials. 11

           20.      On November 29, 2024, the IRS filed the IRS ERTC Claim, totaling

 $31,866,380.15. As set forth herein, the Debtors dispute the accuracy of the IRS ERTC Claim,




 10
       See Claim Nos. 80, 81, 82, 83, 84, 113, 118, 119, 120, 121, 122, 123, 124, 125, 126, 127, 128, 129, 130, 131,
       132, 913, 914, 915, 1042, 1043, 1044, 1048, 1049, 1051, 1054, 1056, 1058, 1059, 1060, 1062, 1065, 1067, 1069,
       1071, 1073, 1074, 1078, 1080, 1081, 1082, 1083, 1084, 1085, 1086, 1087, 1088, 1089, 1090, 1091, 1092, 1093,
       1094, 1096, 1097, 1098, 1099, 1104, 1105, 1106, 1108, 1112, 1113, 1115, 1118, 1119, 1120, 1124, 1127, 1128,
       1131, 1132, 1133, 1134, 1135, 1136, 1137, 1138, 1139, 1142, 1143, 1146, 1149, 1150, 1151, 1152, 1153, 1154,
       1157, 1158, 1161, 1162, 1164, 1166, 1169, 1171, 1173, 1174, 1176, 1268, 1800, 1801, 1802, 1845, 1846, 1847,
       4976, 4977, 4978, 4979, 4980, 4981, 4982, 4983, 4984, 4985, 4986, 4987, 4988, 4989, 4991, 4992, 4993, 4994,
       4995, 4996, 4997, 4998, 4999, 5000, 5001, 5002, 5003, 5004, 5005, 5006, 5007, 5008, 5009, 5010, 5011, 5012,
       5013, 5014, 5015, 5016, 5017, 5018, 5019, 5020, 5021, 5022, 5023, 5024, 5025, 5025, 5026, 5027, 5028, 5029,
       5060, 5061, 5062, 5063, 5064, 5065, 5070, 5071, 5072, 5073, 5074, 5092, 5093, 5094, 5104, 5117, 5118, 5119,
       5120, 5121, 5122, 5123, 5124, 5125, 5126, 5127, 5128, 5129, 5130, 5131, 5132, 5133, 5193, 5194, 5195, 5196,
       5197, 5198, 5199, 5200, 5201, 5202, 5207, 5215, 5216, 5217, 5218, 5219, 5220, 5221, 5247.
 11
       The Debtors reserve all rights with respect to the IRS Proofs of Claim, including, among others, the right to file
       a claim objection(s) with respect to any and all of the IRS Proofs of Claim. The Debtors will continue to work in
       good faith with the IRS to resolve disputed issues with respect to the IRS Proofs of Claim in the coming weeks.



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 given the fact that their calculations of “not providing services” wages complied with legislative

 and IRS guidance, and believe that it should be disallowed in its entirety.

           BASIS FOR RELIEF REQUESTED AND APPLICABLE AUTHORITY

 I.     The IRS ERTC Claim Should be Disallowed.

        21.     Bankruptcy Code section 502(a) provides, in pertinent part, that “[a] claim or

 interest, proof of which is filed under section 501 of this title, is deemed allowed, unless a party in

 interest . . . objects.” 11 U.S.C. § 502(a). Once an objection to a claim is filed, the Court, after

 notice and a hearing, shall determine the allowed amount of the claim. See 11 U.S.C. § 502(b).

        22.     Bankruptcy Code section 502(b)(1) provides, in part, that a claim may not be

 allowed to the extent that it “is unenforceable against the debtor and property of the debtor, under

 any agreement or applicable law.” 11 U.S.C. § 502(b)(1). While a properly filed proof of claim

 is prima facie evidence of the claim’s allowed amount, when an objecting party rebuts a claim’s

 prima facie validity, the claimant bears the burden of proving the claim’s validity by a

 preponderance of evidence. See In re Walston, 606 F. App’x 543, 546 (11th Cir. 2015) (“When a

 proof of claim contains all of the information required under [Bankruptcy] Rule 3001, it constitutes

 prima facie evidence of the validity and amount of the claim. The burden then shifts to the

 objecting party to come forward with enough substantiations to overcome the claimant’s prima

 facie case. If the objecting party overcomes the prima facie case, then the burden of proof falls to

 the party that would bear the burden outside of bankruptcy.”); Matter of All American of Ashburn,

 Inc., 156 B.R. 696, 702 (Bankr. N.D. Ga. 1993) (“The filing of a proof of claim constitutes prima

 facie evidence of that claim. The debtor-taxpayer bears the burden of objecting to the proof of

 claim and producing evidence to refute the proof of claim. Once the debtor-taxpayer has met this




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 burden, the IRS is then required to establish the validity and amount of its claim by a

 preponderance of the evidence.”); In re Allegheny Int’l, Inc., 954 F.2d 167, 173-74 (3d Cir. 1992).

        23.     In addition, Bankruptcy Code section 105(a) affords courts wide latitude in

 effectuating the provisions of Bankruptcy Code section 502(b) and provides that a court “may

 issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

 of this title.” 11 U.S.C. § 105(a). Bankruptcy Code section 105(a) allows courts to “craft flexible

 remedies that, while not expressly authorized by the [Bankruptcy] Code, effect the result the

 [Bankruptcy] Code was designed to obtain.” In re Combustion Eng’g, Inc., 391 F.3d 190, 235-36

 (3d Cir. 2004) (citing Official Comm. of Unsecured Creditors of Cybergenics Corp. ex rel.

 Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir. 2003)) (en banc).

        24.     Applying these standards, the Court should disallow the IRS ERTC Claim because

 the Debtors believe that they do not owe any tax liability for any received or outstanding ERTCs.

 Moreover, the IRS has yet to substantiate the basis for the IRS ERTC Claim, other than attaching

 a single spreadsheet to the IRS ERTC Claim reflecting ERTC amounts received by the Debtors.

        25.     As set forth in the Nov. 27 Response Letter, the Debtors were a “large employer”

 under the CARES Act for both 2020 and 2021 (i.e., the Debtors had more than 100 full time

 employees in 2019 for purposes of claiming the ERTC for 2020 and more than 500 full time

 employees in 2019 for purposes of claiming the ERTC in 2021), meaning that qualified wages for

 the Debtors for purposes of claiming the ERTC consisted of all wages paid to their employees for

 the time that the employees were “not providing services” due to full or partial suspensions of

 business operations as a result of COVID-19 or a significant decline in gross receipts. Exhibits B-

 1 and B-2 to the Nov. 27 Response Letter illustrate the reduction in patients served per month for

 each eligible Debtor employer, figures that were used by the Debtors as a reasonable means to




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 calculate the “not providing services” portion of each employee’s wages that were qualified wages

 for purposes of claiming ERTCs. See Nov. 27 Response Letter, Exs. B-1, B-2. Specifically, as

 set forth in Exhibit C to the Nov. 27 Response Letter, the Debtors used a “work task study” as a

 proxy to determine reduced wages for time not providing services, which matched the decline in

 patient census due to COVID-19-mandated reductions in business operations in each qualifying

 quarter with the corresponding quarter in 2019 to determine the reduction in employee services

 provided. The Debtors broke down these reductions by location and by job category and the

 percentage of employees “not providing services” was applied to the Debtors’ overall wage base,

 which included regular wages, PTO, and sick pay. As set forth in Exhibit C to the Nov. 27

 Response Letter, this calculation is reasonable and based on both legislative intent and IRS

 guidance provided in connection with the CARES Act. See Nov. 27 Response Letter, Ex. C.

        26.     Given the foregoing, the Debtors believe that there is no tax liability owed to the

 IRS in connection with the ERTCs because the Debtors were eligible to claim and receive the Paid

 ERTCs and remain eligible to receive the Unpaid ERTCs (which remain outstanding from the

 IRS). To date, the IRS has not provided any evidence or argument regarding the Debtors’

 ineligibility to claim ERTCs or their purported non-compliance with any restrictions set forth in

 the CARES Act. As such, the Debtors request that this Court promptly determine that the IRS

 ERTC Claim should be disallowed.

 II.    In the Alternative, the Court Should Determine the IRS ERTC Claim is $0 Pursuant
        to Bankruptcy Code Section 505(a).

        27.     In the event the IRS ERTC Claim is not disallowed in its entirety, the Debtors urge

 this Court to determine that the Debtors’ tax liability with respect to the IRS ERTC Claim is $0.

 Bankruptcy Code section 505(a)(1) provides, in relevant part, that the Court “may determine the

 amount or legality of any tax, any fine or penalty relating to a tax, or any addition to tax, whether



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 or not previously assessed, whether or not paid, and whether or not contested before and

 adjudicated by a judicial or administrative tribunal of competent jurisdiction.”           11 U.S.C.

 § 505(a)(1) (emphasis added). In addition, Bankruptcy Code section 105(a) provides, in pertinent

 part, that the Court “may issue any order, process, or judgment that is necessary or appropriate to

 carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

        28.     Courts, including the Eleventh Circuit, have interpreted Bankruptcy Code section

 505(a) as a broad grant of jurisdiction and authority for bankruptcy courts to determine the amount

 or legality of any tax claims against a debtor’s estate. See Breland v. Comm’r, 2024 U.S. App.

 LEXIS 13071, at *10 (11th Cir. May 31, 2024) (“Bankruptcy courts also have the power to

 determine tax debts under 11 U.S.C. § 505, whether or not the tax was previously assessed or

 adjudicated.”); see also In re Cont’l Airlines, Inc., 138 B.R. 430, 433 (Bankr. D. Del. 1992)

 (describing Bankruptcy Code’s “broad grant of jurisdiction” to bankruptcy courts to determine tax

 liabilities under section 505). The purpose of Bankruptcy Code section 505 is to facilitate the

 prompt administration of the bankruptcy estate by allowing debtors to determine, in an efficient

 manner, their tax liabilities. See In re Stevens, 210 B.R. 200, 202 (Bankr. M.D. Fla. 1997)

 (“Pursuant to the legislative history of [section] 505(a)(1), Congress clearly intended for the statute

 to allow bankruptcy courts to rapidly determine tax issues necessary for the efficient administration

 of the estate.”); Cont’l Airlines, 138 B.R. at 434 (noting the “relative speed” with which a tax issue

 could be handled in a bankruptcy court rather than in a state’s appeals process); In re Schmidt, 205

 B.R. 394, 397 (Bankr. N.D. Ill. 1997) (“The legislative history is indicative of Congressional intent

 to vest the bankruptcy courts with a fairly broad jurisdictional grant under [section] 505(a).”). This




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 broad grant of jurisdictional authority is subject to only three express statutory exceptions set forth

 in Bankruptcy Code section 505(a)(2), 12 none of which apply here.

          29.      Accordingly, the Court has the authority to make a final determination regarding

 the purported tax liability, if any, set forth in the IRS ERTC Claim pursuant to Bankruptcy Code

 section 505(a) and the Debtors submit that, in the event the IRS ERTC Claim is not disallowed

 outright, this Court should promptly exercise that authority here, given this is now a gating issue

 to the Debtors’ effectuating the transactions contemplated under the Plan. As discussed above, if

 the IRS ERTC Claim is not otherwise disallowed, the Debtors, their estates, and their creditors

 will benefit from the Court making a prompt, final determination with respect to any tax liability

 owed by the Debtors pursuant to the IRS ERTC Claim. The potential magnitude of the IRS ERTC

 Claim threatens to derail the Chapter 11 Cases and negate the substantial progress made to date in

 furtherance of the Debtors’ confirmed Plan. Indeed, given that the Plan provides that all Priority

 Tax Claims must be paid in full, the Plan may not be feasible absent the relief requested herein.

 See Plan, Art. IV.B. As such, in the event that the IRS ERTC Claim is not disallowed in its entirety,

 this Court’s expedited determination of the Debtors’ tax liability with respect to the IRS ERTC




 12
      Bankruptcy Code section 505(a)(2) provides that the court may not so determine:
          (a)      the amount or legality of a tax, fine, penalty, or addition to tax if such amount or legality was
                   contested before and adjudicated by a judicial or administrative tribunal of competent jurisdiction
                   before the commencement of the case under this title;

          (b)      any right of the estate to a tax refund, before the earlier of—

                   (i)      120 days after the trustee properly requests such refund from the governmental unit from
                            which such refund is claimed; or

                   (ii)     a determination by such governmental unit of such request; or

          (c)      the amount or legality of any amount arising in connection with an ad valorem tax on real or personal
                   property of the estate, if the applicable period for contesting or redetermining that amount under
                   applicable nonbankruptcy law has expired.


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 Claim is critical to assessing the feasibility of the Plan and the Debtors’ ability to consummate the

 same.

                                  RESERVATION OF RIGHTS

          30.   Nothing contained herein shall be construed as a waiver by the Debtors of any of

 their rights, remedies, claims, counterclaims, or defenses with respect to the IRS ERTC Claim and

 the IRS Proofs of Claim, and the Debtors hereby expressly reserve any and all of the foregoing.

                                      NO PRIOR REQUEST

          31.   No previous request for the relief sought herein has been made to this or any other

 court.

                                              NOTICE

          32.   The Debtors will provide notice of this Objection to the following parties and/or

 their respective counsel, as applicable: (a) the U.S. Trustee; (b) the Internal Revenue Service;

 (c) the United States Attorney for the Northern District of Georgia; (d) the Attorney General for

 the State of Georgia; (e) the Georgia Department of Revenue; (f) the Centers for Medicare and

 Medicaid Services; (g) the states attorneys general for states in which the Debtors conduct

 business; (h) counsel to the Committee; (i) counsel to the Debtors’ prepetition lenders; (j) counsel

 to the DIP Lenders; and (k) all parties entitled to notice pursuant to Bankruptcy Rule 2002. The

 Debtors submit that no other or further notice is required.



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                                          CONCLUSION

        WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 such other and further relief as may be just and proper.

 Dated: Atlanta, Georgia                       MCDERMOTT WILL & EMERY LLP
        December 10, 2024
                                               /s/ Daniel M. Simon
                                               Daniel M. Simon (Georgia Bar No. 690075)
                                               1180 Peachtree St. NE, Suite 3350
                                               Atlanta, Georgia 30309
                                               Telephone:     (404) 260-8535
                                               Facsimile:     (404) 393-5260
                                               Email:         dsimon@mwe.com

                                               - and -

                                               Emily C. Keil (admitted pro hac vice)
                                               Catherine Lee (admitted pro hac vice)
                                               444 West Lake Street, Suite 4000
                                               Chicago, Illinois 60606
                                               Telephone:     (312) 372-2000
                                               Facsimile:     (312) 984-7700
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                                                              clee@mwe.com

                                               Counsel for the Debtors and Debtors-in-Possession




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2024, all ECF participants registered in this case

 were served electronically with the foregoing document through the Court’s ECF system at their

 respective email addresses registered with this Court, including counsel to the Internal Revenue

 Service, Vivieon Jones (Vivieon.Jones@usdoj.gov). In addition, the following parties were also

 served electronically with the foregoing document: Ward Benson (Ward.W.Benson@usdoj.gov),

 Hana Bilicki (Hana.Bilicki@usdoj.gov), and Letha Homer (Letha.Homer@irs.gov). The Debtors’

 claims and noticing agent will be simultaneously serving the foregoing document on the following

 parties via first class mail and/or certified mail, as applicable, and will be filing a supplemental

 certificate of service on the docket to reflect such service as well as any additional service of the

 foregoing document completed via first class mail with respect to the Limited Service List.

 Via First Class Mail:

 United States Attorney’s Office
 75 Ted Turner Drive SW, Suite 600                     Internal Revenue Service
 Atlanta, Georgia 30303                                Attn: Letha Homer
 Attn: Vivieon Jones                                   401 W. Peachtree St., NW
                                                       Room 900, M/S 334-D
 Internal Revenue Service                              Atlanta, GA 30308
 P.O. Box 7346
 Philadelphia, PA 19101-7346                           U.S. Department of Justice
                                                       Tax Division
 Attorney General of the United States                 Civil Trial Section, Southern Region
 U.S. Department of Justice                            P.O. Box 14198
 950 Pennsylvania Avenue, NW                           Washington, D.C. 20044
 Washington, DC 20530-0001


 Via Certified Mail:

 United States Attorney’s Office
 ATTN: Civil Process Clerk
 75 Ted Turner Drive SW
 Suite 600
 Atlanta, Georgia 30303



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 Dated: Atlanta, Georgia              MCDERMOTT WILL & EMERY LLP
        December 10, 2024
                                      /s/ Daniel M. Simon
                                      Daniel M. Simon (Georgia Bar No. 690075)
                                      1180 Peachtree St. NE, Suite 3350
                                      Atlanta, Georgia 30309
                                      Telephone:     (404) 260-8535
                                      Facsimile:     (404) 393-5260
                                      Email:         dsimon@mwe.com

                                      Counsel for the Debtors and Debtors-in-Possession




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                                  EXHIBIT A

                                Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                                  )
     In re:                                                       )       Chapter 11
                                                                  )
     LAVIE CARE CENTERS, LLC, 1                                   )       Case No. 24-55507 (PMB)
                                                                  )
                              Debtors.                            )       (Jointly Administered)
                                                                  )

                      ORDER SUSTAINING DEBTORS’ OBJECTION TO
                 CLAIM NO. 5247 FILED BY THE INTERNAL REVENUE SERVICE

              Upon the objection (the “Objection”) 2 of the Debtors filed at Docket No. [__] on December

 10, 2024 objecting to Claim No. 5247 (the “IRS ERTC Claim”) filed by the Internal Revenue

 Service (the “IRS”) and seeking entry of an order (this “Order”) disallowing the IRS ERTC Claim



 1
       The last four digits of LaVie Care Centers, LLC’s federal tax identification number are 5592. There are 282
       Debtors in these chapter 11 cases, which are being jointly administered for procedural purposes only. A complete
       list of the Debtors and the last four digits of their federal tax identification numbers are not provided
       herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
       agent at https://www.veritaglobal.net/LaVie. The location of LaVie Care Centers, LLC’s corporate headquarters
       and the Debtors’ service address is 1040 Crown Pointe Parkway, Suite 600, Atlanta, GA 30338.
 2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Objection.
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 in its entirety, all as more fully set forth in the Objection, all as more fully set forth in the Objection;

 and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the

 matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of this

 proceeding and the Objection in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and the Court being able to issue a final order consistent with Article III of the United States

 Constitution; and due and sufficient notice of the Objection having been given under the particular

 circumstances; and it appearing that no other or further notice is necessary; and it appearing that

 the relief requested in the Objection is in the best interests of the Debtors, their estates, their

 creditors, and other parties in interest; and after due deliberation thereon; and good and sufficient

 cause appearing therefor; it is hereby

         ORDERED, ADJUDGED, AND DECREED that:

         1.      The Objection is SUSTAINED as set forth herein. Any response to the Objection

 not otherwise withdrawn, resolved, or adjourned is hereby overruled on its merits.

         2.      The IRS ERTC Claim is disallowed in its entirety.

         3.      The Debtors are authorized and empowered to take all actions necessary or

 appropriate to implement the relief granted in this Order.

         4.      Nothing in this Order or the Objection is intended or shall be construed as a waiver

 by the Debtors of any of their rights, remedies, claims, counterclaims, or defenses with respect to

 the IRS ERTC Claim and the IRS Proofs of Claim, as well as any rights of the Debtors to enforce

 rights of setoff against the IRS.

         5.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.




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           6.   The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, or enforcement of this Order.

                                         END OF ORDER

 Prepared and presented by:

 /s/ Daniel M. Simon
 MCDERMOTT WILL & EMERY LLP
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 - and -

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 Counsel for the Debtors and Debtors-in-Possession




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                                 Distribution List

                              LaVie Care Centers, LLC
                         c/o Ankura Consulting Group, LLC,
                         485 Lexington Avenue, 10th Floor,
                               New York, NY 10017
                              Attn: M. Benjamin Jones

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                        1180 Peachtree Street NE, Suite 3350
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                      222 N. Pacific Coast Highway, 3rd Floor
                              El Segundo, CA 90245

                                 Jonathan S. Adams
                         Office of the United States Trustee
                        362 Richard Russell Federal Building
                             75 Ted Turner Drive, SW
                                 Atlanta, GA 30303




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                                  EXHIBIT B

                                IRS ERTC Claim
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                                  EXHIBIT C

                            Debtors’ ERTC Summary
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LaVie Care Centers, LLC, et al.
Summary of ERCs Received and Outstanding

                                                                                                                                                                                       ERC Checks Received                                                                                             ERC Outstanding
                                                                                                                                                                                                                          Total       Interest      Grand                                                                                             Total
FAC ID       DBA                                                               Legal Name                                        FEIN                                                                                                                           2Q20 ERC     3Q20 ERC     4Q20 ERC        1Q21 ERC       2Q21 ERC     3Q21 ERC
                                                                                                                                           2Q20       3Q20       4Q20       1Q21       2Q21          3Q21       4Q21       ERC        Received      Total                                                                                          Outstanding
411          University Hills Health and Rehabilitation                        10040 HILLVIEW ROAD OPERATIONS LLC              371654496     12,721     24,295     37,878     82,966     37,487        22,291         ‐     217,638        20,625     238,264            ‐            ‐            ‐               ‐              ‐            ‐             ‐
430          Wedgewood Healthcare Center                                       1010 CARPENTERS WAY OPERATIONS LLC              364716312     29,978          ‐     26,917          ‐     38,937        45,485         ‐     141,317        12,405     153,722            ‐       48,439            ‐          62,699              ‐            ‐       111,139
425          Bay Breeze Health and Rehabilitation Center                       1026 ALBEE FARM ROAD OPERATIONS LLC             383858193     14,302     25,360     35,066     34,013     25,445        48,233         ‐     182,420        16,889     199,309            ‐            ‐            ‐               ‐              ‐            ‐             ‐
446          Lakeside Oaks Care Center                                         1061 VIRGINIA STREET OPERATIONS LLC             320358871      8,381     48,424     15,727          ‐     19,454        24,201    34,666     150,853        13,401     164,253            ‐            ‐            ‐               ‐              ‐            ‐             ‐
418          Englewood Healthcare and Rehabilitation Center                    1111 DRURY LANE OPERATIONS LLC                  364714694          ‐          ‐     12,033     55,029     19,344        18,970         ‐     105,376        10,080     115,456        8,475       14,877            ‐               ‐              ‐            ‐        23,353
428          Keystone Rehabilitation and Health Center                         1120 WEST DONEGAN AVENUE OPERATIONS LLC         371654964     29,099     47,920     31,635     37,661     24,561        38,500         ‐     209,375        19,405     228,780            ‐            ‐            ‐               ‐              ‐            ‐             ‐
439          Harts Harbor Health Care Center                                   11565 HARTS ROAD OPERATIONS LLC                 352428092     40,674     24,674     71,442          ‐     72,165        24,749         ‐     233,705        21,643     255,348            ‐            ‐            ‐         108,179              ‐            ‐       108,179
447          Spring Hill Health and Rehabilitation Center                      12170 CORTEZ BOULEVARD OPERATIONS LLC           300706977     76,270     32,941     71,829     39,974     39,436        37,991         ‐     298,442        29,387     327,829            ‐            ‐            ‐               ‐              ‐            ‐             ‐
433          Island Health and Rehabilitation Center                           125 ALMA BOULEVARD OPERATIONS LLC               383858306     18,635     65,663     51,475     38,270     23,638        38,910         ‐     236,591        22,981     259,572            ‐            ‐            ‐               ‐              ‐            ‐             ‐
415          Heron Pointe Health and Rehabilitation                            1445 HOWELL AVENUE OPERATIONS LLC               352428213     12,060     60,587     18,938     25,376     21,296        28,729         ‐     166,987        15,788     182,775            ‐            ‐            ‐               ‐              ‐            ‐             ‐
407          Brandon Health and Rehabilitation Center                          1465 OAKFIELD DRIVE OPERATIONS LLC              320358612     12,013     35,548     20,242          ‐     26,050        34,536         ‐     128,389        11,091     139,480            ‐            ‐            ‐          32,191              ‐            ‐        32,191
416          Magnolia Health and Rehabilitation Center                         1507 SOUTH TUTTLE AVENUE OPERATIONS LLC         371654971          ‐     23,922     21,461     30,602     12,985             ‐         ‐      88,971         8,128      97,098       10,064            ‐            ‐               ‐              ‐        9,990        20,055
453          Colonial Lakes Health Care                                        15204 WEST COLONIAL DRIVE OPERATIONS LLC        371653462      9,455     97,431     86,734     63,513     27,462        34,857         ‐     319,452        31,652     351,104            ‐            ‐            ‐               ‐              ‐            ‐             ‐
450          Vista Manor                                                       1550 JESS PARRISH COURT OPERATIONS LLC          352428780          ‐     55,486     40,273     21,553     19,606        32,800         ‐     169,719        16,706     186,424       17,216            ‐            ‐               ‐              ‐            ‐        17,216
423          Harbor Beach Nursing and Rehabilitation Center                    1615 MIAMI ROAD OPERATIONS LLC                  300706236      3,988     10,959     14,882     23,352     22,750        11,849         ‐      87,780         8,083      95,863            ‐            ‐            ‐               ‐              ‐            ‐             ‐
481          Health and Rehabilitation Centre at Dolphins View, The            1820 SHORE DRIVE OPERATIONS LLC                 611666246          ‐     34,052      6,531          ‐     10,547         6,577         ‐      57,707         5,746      63,453       19,463            ‐            ‐          19,174              ‐            ‐        38,636
413          Deltona Health Care                                               1851 ELKCAM BOULEVARD OPERATIONS LLC            800768116          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐       18,862       86,695       24,856          31,573         37,133       50,688       249,807
414          Destin Healthcare and Rehabilitation Center                       195 MATTIE M KELLY BOULEVARD OPERATIONS LLC     900775960     10,760     27,648     31,989     39,013     18,412        24,285         ‐     152,108        13,699     165,806            ‐            ‐            ‐               ‐              ‐            ‐             ‐
409          Coral Trace Health Care                                           216 SANTA BARBARA BOULEVARD OPERATIONS LLC      800768096     19,466     23,666     20,550     34,472     44,560        45,072         ‐     187,785        16,790     204,575            ‐            ‐            ‐               ‐              ‐            ‐             ‐
424          Health Center at Brentwood                                        2333 NORTH BRENTWOOD CIRCLE OPERATIONS LLC      300707193     18,760     38,894     36,917     40,658     23,976        35,303         ‐     194,508        17,900     212,408            ‐            ‐            ‐               ‐              ‐            ‐             ‐
441          SeaView Nursing and Rehabilitation Center                         2401 NE 2ND STREET OPERATIONS LLC               383858020      6,881     12,974     45,383     37,457     33,061        48,565         ‐     184,320        17,297     201,617            ‐            ‐            ‐               ‐              ‐            ‐             ‐
432          Heritage Park Rehabilitation and Healthcare                       2826 CLEVELAND AVENUE OPERATIONS LLC            611666359     80,300    201,538     76,056    152,236    105,125       122,199         ‐     737,453        75,626     813,079            ‐            ‐            ‐               ‐              ‐            ‐             ‐
448          Habana Health Care Center                                         2916 HABANA WAY OPERATIONS LLC                  611665516     29,317    139,655     47,400     56,447     45,495        51,347         ‐     369,661        36,030     405,691            ‐            ‐            ‐               ‐              ‐            ‐             ‐
466          Coral Bay Healthcare and Rehabilitation                           2939 SOUTH HAVERHILL ROAD OPERATIONS LLC        800768119     47,130     91,345     32,739     61,603     57,296             ‐         ‐     290,113        28,729     318,842            ‐            ‐            ‐               ‐              ‐       42,342        42,342
438          Grand Oaks Health and Rehabilitation Center                       3001 PALM COAST PARKWAY OPERATIONS LLC          383857454      8,299          ‐     27,465     63,014     31,128        50,065         ‐     179,971        16,871     196,842            ‐       26,656            ‐               ‐              ‐            ‐        26,656
427          Heritage Healthcare Center at Tallahassee                         3101 GINGER DRIVE OPERATIONS LLC                300707332      9,465     33,930     47,779     37,199     11,995        33,848         ‐     174,216        15,901     190,118            ‐            ‐            ‐               ‐              ‐            ‐             ‐
464          The SWAN Center at Oakbridge                                      3110 OAKBRIDGE BOULEVARD OPERATIONS LLC         300707729          ‐     19,656     21,618      6,196      7,525         3,175         ‐      58,170         4,987      63,157        2,402            ‐            ‐               ‐              ‐            ‐         2,402
419          Evans Health Care                                                 3735 EVANS AVENUE OPERATIONS LLC                352427163     16,835          ‐     34,182          ‐     23,552        79,342         ‐     153,911        13,502     167,412            ‐      101,483            ‐          58,194              ‐            ‐       159,676
410          Countryside Rehab and Healthcare Center                           3825 COUNTRYSIDE BOULEVARD OPERATIONS LLC       900775956      8,916     66,362     31,274     41,236     86,005        44,441         ‐     278,233        26,106     304,340            ‐            ‐            ‐               ‐              ‐            ‐             ‐
444          Rosewood Health and Rehabilitation Center                         3920 ROSEWOOD WAY OPERATIONS LLC                900777086          ‐          ‐          ‐     75,627          ‐             ‐         ‐      75,627         7,740      83,367       31,539       96,871       61,523               ‐         44,485       49,549       283,967
451          Hillcrest Health Care and Rehabilitation Center                   4200 WASHINGTON STREET OPERATIONS LLC           300707346    110,375    147,712    115,075    182,744     95,493       102,862         ‐     754,262        74,994     829,256            ‐            ‐            ‐               ‐              ‐            ‐             ‐
442          Plantation Bay Rehabilitation Center                              4641 OLD CANOE CREEK ROAD OPERATIONS LLC        900777064     41,574     47,434     42,979     54,441     36,206        52,889         ‐     275,522        25,875     301,397            ‐            ‐            ‐               ‐              ‐            ‐             ‐
435          Shoal Creek Rehabilitation Center                                 500 SOUTH HOSPITAL DRIVE OPERATIONS LLC         611666089     10,983     62,476     35,211     50,912     27,084        26,451         ‐     213,117        20,785     233,902            ‐            ‐            ‐               ‐              ‐            ‐             ‐
452          Renaissance Health and Rehabilitation                             5065 WALLIS ROAD OPERATIONS LLC                 800769064     75,379     47,465     44,125     75,431     35,749        56,280         ‐     334,429        33,064     367,492            ‐            ‐            ‐               ‐              ‐            ‐             ‐
420          Fletcher Health and Rehabilitation Center                         518 WEST FLETCHER AVENUE OPERATIONS LLC         900776108     28,360    114,002          ‐          ‐     20,199        32,093         ‐     194,654        19,573     214,227            ‐            ‐       25,477          32,283              ‐            ‐        57,760
437          Palms Rehabilitation and Healthcare Center, The                   5405 BABCOCK STREET OPERATIONS LLC              371655153     22,110          ‐     24,498     80,399     41,695        39,561         ‐     208,264        19,090     227,353            ‐       68,793            ‐               ‐              ‐            ‐        68,793
421          Fort Pierce Health Care                                           611 SOUTH 13TH STREET OPERATIONS LLC            320359064     20,897          ‐     67,168     93,253     66,075        70,165         ‐     317,559        30,146     347,705            ‐      136,271            ‐               ‐              ‐            ‐       136,271
417          Emerald Shores Health and Rehabilitation                          626 NORTH TYNDALL PARKWAY OPERATIONS LLC        352427139     13,598     27,290     27,554          ‐     23,667             ‐         ‐      92,109         8,264     100,372            ‐            ‐            ‐          56,966              ‐       22,049        79,015
406          Bradenton Health Care                                             6305 CORTEZ ROAD WEST OPERATIONS LLC            300705718     78,862    113,476     69,175     84,437     53,299        31,691         ‐     430,939        45,001     475,940            ‐            ‐            ‐               ‐              ‐            ‐             ‐
468          Wood Lake Health and Rehabilitation Center                        6414 13TH ROAD SOUTH OPERATIONS LLC             352428783     15,327     27,550     52,422     76,596     58,283        20,191         ‐     250,369        23,654     274,024            ‐            ‐            ‐               ‐              ‐            ‐             ‐
445          Oaktree Healthcare                                                650 REED CANAL ROAD OPERATIONS LLC              611666689      5,939     17,537     37,896     21,004      9,561        23,817         ‐     115,755        10,920     126,675            ‐            ‐            ‐               ‐              ‐            ‐             ‐
434          North Florida Rehabilitation and Specialty Care                   6700 NW 10TH PLACE OPERATIONS LLC               364716114      4,600     39,186     51,106     36,191     62,250        70,101         ‐     263,434        24,500     287,934            ‐            ‐            ‐               ‐              ‐            ‐             ‐
463          Central Park Healthcare and Rehabilitation Center                 702 SOUTH KINGS AVENUE OPERATIONS LLC           383857011     19,236     66,282     25,207     24,431     31,316        47,433         ‐     213,904        19,910     233,814            ‐            ‐            ‐               ‐              ‐            ‐             ‐
429          Lake Mary Health and Rehabilitation Center                        710 NORTH SUN DRIVE OPERATIONS LLC              352428407     25,975     48,437     52,089     47,735     37,149        47,850         ‐     259,234        24,064     283,298            ‐            ‐            ‐               ‐              ‐            ‐             ‐
426          Heritage Healthcare and Rehabilitation Center                     777 NINTH STREET NORTH OPERATIONS LLC           383858199     45,128    123,499     28,053     59,833     33,546        10,728         ‐     300,787        31,418     332,205            ‐            ‐            ‐               ‐              ‐            ‐             ‐
443          Rio Pinar Health Care                                             7950 LAKE UNDERHILL ROAD OPERATIONS LLC         900777078     33,684    125,464    107,848     68,729     60,218        72,231         ‐     468,174        46,138     514,312            ‐            ‐            ‐               ‐              ‐            ‐             ‐
431          Bardmoor Oaks Healthcare and Rehabilitation Center (frm Largo)    9035 BRYAN DAIRY ROAD OPERATIONS LLC            364715950     11,201          ‐     49,547     32,425     14,808         9,227         ‐     117,208        11,044     128,252            ‐       90,894            ‐               ‐              ‐            ‐        90,894
465          Parks Healthcare and Rehabilitation Center, The                   9311 SOUTH ORANGE BLOSSOM TRAIL OPERATIONS LL   800770038     39,562     61,601     76,445     53,879     77,479        71,172         ‐     380,138        36,504     416,642            ‐            ‐            ‐               ‐              ‐            ‐             ‐
405          San Jose Health and Rehabilitation Center                         9355 SAN JOSE BOULEVARD OPERATIONS LLC          800769084      7,188     20,617          ‐     62,813     26,270        20,621         ‐     137,510        13,010     150,520            ‐            ‐       19,225               ‐              ‐            ‐        19,225
3210         Ashland Nursing & Rehabilitation Center                           ASHLAND FACILITY OPERATIONS LLC                 205065966          ‐     59,518     45,526    194,005     17,531        22,616         ‐     339,195        32,816     372,011       29,156            ‐            ‐               ‐              ‐            ‐        29,156
501          Ashton Court Care and Rehabilitation Centre                       ASHTON COURT HEALTHCARE LLC                     200900123          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐       75,534            ‐            ‐               ‐              ‐            ‐        75,534
3200         Augusta Nursing and Rehab Center                                  AUGUSTA FACILITY OPERATIONS LLC                 205104011     13,145     30,260          ‐     34,429          ‐        29,442         ‐     107,276         9,723     116,999            ‐            ‐       31,554               ‐         25,323            ‐        56,877
1078         Baya Pointe Nursing and Rehabilitation Center                     BAYA NURSING AND REHABILITATION LLC             461570112     19,729     26,202     50,082     19,327     19,268        18,125         ‐     152,733        14,074     166,807            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3113         Consulate Health Care of Bayonet Point                            BAYONET POINT FACILITY OPERATIONS LLC           205109197      7,843     89,909     25,983     23,417     25,095        23,211         ‐     195,459        19,272     214,731            ‐            ‐            ‐               ‐              ‐            ‐             ‐
502          Heritage Manor of Bossier                                         BOSSIER HEALTHCARE LLC                          200875159     12,497      9,944     21,812     67,382     21,467        28,675         ‐     161,776        15,273     177,050            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3107         Consulate Health Care of Brandon                                  BRANDON FACILITY OPERATIONS LLC                 205109231          ‐          ‐          ‐     41,723     23,862        56,317         ‐     121,903        11,347     133,249       26,731       28,580       36,470               ‐              ‐            ‐        91,781
401          Brentwood Retirement Community                                    BRENTWOOD MEADOW HEALTH CARE ASSOCIATES LLC     582639492      6,676     16,690      8,111          ‐     20,979        14,316         ‐      66,772         6,096      72,869            ‐            ‐            ‐          23,381              ‐            ‐        23,381
504          Cardinal Healthcare and Rehabilitation Center                     CARDINAL NORTH CAROLINA HEALTHCARE LLC          200900368      3,613     11,840     40,615     25,772     17,645        12,685         ‐     112,171        10,954     123,124            ‐            ‐            ‐               ‐              ‐            ‐             ‐
505          Cary Health and Rehabilitation Center                             CARY HEALTHCARE LLC                             200905436          ‐      6,657     12,576     32,914     14,239        15,454         ‐      81,840         8,397      90,237        6,398            ‐            ‐               ‐              ‐            ‐         6,398
470          Brookshire, The                                                   CATALINA GARDENS HEALTH CARE ASSOCIATES LLC     260220976     10,443     19,062     22,074     48,614     34,949        19,847         ‐     154,989        15,417     170,406            ‐            ‐            ‐               ‐              ‐            ‐             ‐
508          Clay County Care Center                                           CLAY COUNTY HEALTHCARE LLC                      200905506     67,903     19,952     33,496    115,113     62,098        29,000         ‐     327,562        33,447     361,009            ‐            ‐            ‐               ‐              ‐            ‐             ‐
403          Keystone Villas Assisted Living Center                            DONEGAN SQUARE HEALTH CARE ASSOCIATES           582639494      2,862      6,248      5,818     13,261     15,641        22,440         ‐      66,270         6,163      72,433            ‐            ‐            ‐               ‐              ‐            ‐             ‐
404          Villas at Lakeside Oaks, The                                      EDINBOROUGH SQUARE HEALTH CARE ASSOCIATES LLC   582639495        867      2,549      2,709     10,038      7,890         3,602         ‐      27,655         2,636      30,291            ‐            ‐            ‐               ‐              ‐            ‐             ‐
513          Emerald Ridge Rehabilitation and Care Center                      EMERALD RIDGE HEALTHCARE LLC                    200905569     10,704     25,901          ‐    100,188     89,237        29,811         ‐     255,841        24,431     280,272            ‐            ‐       95,593               ‐              ‐            ‐        95,593
3211         Envoy of Alexandria                                               ENVOY OF ALEXANDRIA LLC                         263644169     99,523     99,275     52,600          ‐          ‐        22,563         ‐     273,961        28,905     302,866            ‐            ‐            ‐          46,782         38,793            ‐        85,575
3212         Bonview Rehabilitation and Healthcare                             ENVOY OF FOREST HILLS LLC                       263644246     20,452          ‐     60,208     45,277     75,191        24,989         ‐     226,117        14,167     240,284            ‐       41,173            ‐               ‐              ‐            ‐        41,173
3213         Envoy at the Village                                              ENVOY OF FORK UNION LLC                         263644310     46,070     14,528     14,528      9,822     14,568         9,677         ‐     109,193        11,391     120,583            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3214         Envoy at the Meadows                                              ENVOY OF GOOCHLAND LLC                          263644361      7,117     11,148      9,375     29,644     50,476        17,189         ‐     124,949        11,540     136,489            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3215         Envoy of Lawrenceville                                            ENVOY OF LAWRENCEVILLE LLC                      263644400          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐        6,288       14,172       16,116          13,510         14,891       10,679        75,656
3216         Envoy of Westover Hills                                           ENVOY OF RICHMOND LLC                           263644488     14,481     18,434     31,226          ‐    108,481        29,644         ‐     202,266        18,395     220,660            ‐            ‐            ‐         123,368              ‐            ‐       123,368
3258         Siemon's Lakeview Manor Nursing and Rehabilitation Center         ENVOY OF SOMERSET LLC                           371625920     35,979     47,900          ‐    108,915     75,680        47,223         ‐     315,696        30,687     346,384            ‐            ‐       64,451               ‐              ‐            ‐        64,451
3217         Envoy of Staunton                                                 ENVOY OF STAUNTON LLC                           263644536          ‐     21,796     24,634    209,730     82,042        50,512         ‐     388,715        36,427     425,142       34,046            ‐            ‐               ‐              ‐            ‐        34,046
3218         Envoy of Williamsburg                                             ENVOY OF WILLIAMSBURG LLC                       263644589     46,362     10,114     24,667     36,816     48,516        16,518         ‐     182,992        16,062     199,055            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3219         Envoy of Winchester                                               ENVOY OF WINCHESTER LLC                         263644649     20,852     28,971          ‐     32,113      8,219        13,672         ‐     103,828         9,812     113,640            ‐            ‐       58,101               ‐              ‐            ‐        58,101
3220         Envoy of Woodbridge                                               ENVOY OF WOODBRIDGE LLC                         263644689          ‐     72,355    105,774     30,857          ‐        15,228         ‐     224,214        22,422     246,636       38,969            ‐            ‐               ‐         24,736            ‐        63,705
515          Heritage Manor Health and Rehabilitation Center                   FERRIDAY HEALTHCARE LLC                         200875115      2,984     10,880     14,019     20,587     10,851        10,117         ‐      69,438         6,339      75,777            ‐            ‐            ‐               ‐              ‐            ‐             ‐
1080         Floridean Nursing and Rehabilitation Center, The                  FLORIDIAN FACILITY OPERATIONS LLC               472428106     21,972          ‐     39,151          ‐     32,062             ‐         ‐      93,184         8,213     101,398            ‐       36,643            ‐          63,415              ‐       33,309       133,367
301          Forrest Oakes Healthcare Center                                   FORREST OAKES HEALTHCARE LLC                    200905610      3,095     42,178     32,554     37,896     13,436         8,337         ‐     137,496        14,342     151,839            ‐            ‐            ‐               ‐              ‐            ‐             ‐
517          Heritage Manor of Franklinton                                     FRANKLINTON HEALTHCARE LLC                      200875206    143,370     27,087     45,025     39,366     16,365        21,950         ‐     293,162        31,334     324,497            ‐            ‐            ‐               ‐              ‐            ‐             ‐
519          Garden Court Health and Rehabilitation Center                     GARDEN COURT HEALTHCARE LLC                     200875068     27,399     12,088     31,011     19,786     41,215             ‐         ‐     131,499        12,905     144,404            ‐            ‐            ‐               ‐              ‐       30,326        30,326
520          Gateway Rehabilitation and Healthcare                             GATEWAY HEALTHCARE LLC                          200905642      7,326     27,305     14,674    103,127     28,773        16,563         ‐     197,768        17,975     215,743            ‐            ‐            ‐               ‐              ‐            ‐             ‐
521          Glenburney Health Care and Rehabilitation Center                  GLENBURNEY HEALTHCARE LLC                       200900219     24,408     16,505     14,645     27,726     21,204        17,300         ‐     121,787        11,300     133,087            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3205         Grayson Rehabilitation and Health Care Center                     GRAYSON FACILITY OPERATIONS LLC                 205105028      9,995     50,799     88,175     30,799     21,624        29,175         ‐     230,567        22,882     253,449            ‐            ‐            ‐               ‐              ‐            ‐             ‐
524          Hilltop Manor Health and Rehabilitation Center                    HILLTOP MISSISSIPPI HEALTHCARE LLC              200900236     14,030     51,070          ‐     22,954          ‐        13,262         ‐     101,316        10,242     111,558            ‐            ‐       16,208               ‐         19,005            ‐        35,212
526          Hunter Woods Nursing and Rehabilitation Center                    HUNTER WOODS HEALTHCARE LLC                     200905659     32,303     62,938     44,467    117,112     65,465        31,871         ‐     354,155        34,617     388,772            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3114         Consulate Health Care of Jacksonville                             JACKSONVILLE FACILITY OPERATIONS LLC            205108974          ‐     34,798     20,044     13,825     11,341        26,943         ‐     106,951         7,315     114,266       12,120            ‐            ‐               ‐              ‐            ‐        12,120
529          Transitional Health Services of Kannapolis                        KANNAPOLIS HEALTHCARE LLC                       200905909     14,352     47,518    138,977    144,268     78,957        16,807         ‐     440,879        44,032     484,911            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3204         Kings Daughters Community Health & Rehab                          KINGS DAUGHTERS FACILITY OPERATIONS LLC         205105233     12,480     21,341     78,666     82,160     27,537        15,289         ‐     237,473        23,013     260,486            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3115         Consulate Health Care of Kissimmee                                KISSIMMEE FACILITY OPERATIONS LLC               205109023     20,205     70,034     58,509     81,573     47,619        58,956         ‐     336,896        33,097     369,993            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3108         Consulate Health Care at Lake Parker                              LAKE PARKER FACILITY OPERATIONS LLC             205109064     14,468          ‐     18,855     24,866     21,822             ‐         ‐      80,010         7,320      87,330            ‐       38,077            ‐               ‐              ‐       19,014        57,091
3101         Consulate Health Care of Lakeland                                 LAKELAND FACILITY OPERATIONS LLC                205109103     63,935     41,521     48,533     61,856          ‐             ‐         ‐     215,845        21,794     237,639            ‐            ‐            ‐               ‐         20,826       17,220        38,046
3252         Locust Grove Retirement Village                                   LOCUST GROVE FACILITY OPERATIONS LLC            205109149     17,914     33,253     30,575    184,760     32,735        35,657         ‐     334,893        32,149     367,042            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3225         Luther Ridge at Seiders Hill                                      LUTHER RIDGE FACILITY OPERATIONS LLC            205111897     21,234     46,530     32,119     38,290     21,452        12,200         ‐     171,825        17,511     189,336            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3224         Manor at St. Luke Village, The                                    MANOR AT ST LUKE VILLAGE FACILITY OPERATIONS    205111951     26,514    107,409     26,872     96,683     47,619        66,546         ‐     371,642        36,155     407,797            ‐            ‐            ‐               ‐              ‐            ‐             ‐
536          Courtyard Rehabilitation and Healthcare                           MCCOMB HEALTHCARE LLC                           200900260     14,414     64,293     50,976     24,989     25,278        24,257         ‐     204,207        19,854     224,061            ‐            ‐            ‐               ‐              ‐            ‐             ‐
                                                                       Case 24-55507-pmb                                     Doc 751 Filed 12/10/24 Entered 12/10/24 22:53:16                                                                                             Desc Main
                                                                                                                                    Document    Page 33 of 53
Summary of ERCs Received and Outstanding

                                                                                                                                                                                ERC Checks Received                                                                                                 ERC Outstanding
                                                                                                                                                                                                                     Total        Interest      Grand                                                                                              Total
FAC ID        DBA                                                       Legal Name                                    FEIN                                                                                                                                   2Q20 ERC     3Q20 ERC     4Q20 ERC        1Q21 ERC       2Q21 ERC     3Q21 ERC
                                                                                                                                2Q20        3Q20        4Q20        1Q21        2Q21          3Q21        4Q21        ERC         Received      Total                                                                                           Outstanding
3109          Consulate Health Care of Melbourne                        MELBOURNE FACILITY OPERATIONS LLC           205111992      9,792      70,912      53,314     115,239      59,165        52,525           ‐     360,947         34,721     395,668             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3106          Franco Nursing & Rehabilitation Center                    MIAMI FACILITY OPERATIONS LLC               205112030     28,440      82,243           ‐      64,784      36,544             ‐           ‐     212,011         21,196     233,207             ‐            ‐       79,867               ‐              ‐       33,426       113,292
3105          Consulate Health Care of New Port Richey                  NEW PORT RICHEY FACILITY OPERATIONS LLC     205112212     12,009      26,073      19,055      95,511      22,518        32,848           ‐     208,014         19,502     227,516             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3203          Newport News Nursing and Rehabilitation Center            NEWPORT NEWS FACILITY OPERATIONS LLC        205105591      6,527      18,934      31,511      49,618      15,341        26,332           ‐     148,262         13,948     162,210             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3201          Consulate Health Care of Norfolk                          NORFOLK FACILITY OPERATIONS LLC             205105634     26,328     103,853     102,319     117,182      28,998        33,463           ‐     412,143         40,394     452,537             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3103          Consulate Health Care of North Fort Myers                 NORTH FORT MYERS FACILITY OPERATIONS LLC    205112262     72,609      50,174      90,896     122,338           ‐        48,793           ‐     384,811         38,930     423,741             ‐            ‐            ‐               ‐         53,445            ‐        53,445
540           Oak Grove Healthcare Center                               OAK GROVE HEALTHCARE LLC                    200905695          ‐      17,121      87,777      40,435      17,822        30,978           ‐     194,133         19,229     213,362         6,485            ‐            ‐               ‐              ‐            ‐         6,485
541           Oaks at Sweeten Creek, The                                OAKS AT SWEETEN CREEK HEALTHCARE LLC        200905720     10,524      15,030     105,410      67,879     101,781        18,946           ‐     319,569         31,129     350,698             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3116          Consulate Health Care of Orange Park                      ORANGE PARK FACILITY OPERATIONS LLC         205112395      9,643      39,075      28,714      39,695      20,108        26,367           ‐     163,601         15,002     178,603             ‐            ‐            ‐               ‐              ‐            ‐             ‐
1079          Osprey Point Nursing Center                               OSPREY NURSING AND REHABILITATION LLC       461564762          ‐      21,083      16,526      26,850       9,416         9,183           ‐      83,058          7,915      90,974         7,773            ‐            ‐               ‐              ‐            ‐         7,773
547           Parkview Nursing and Rehabilitation Center                PARKVIEW HEALTHCARE LLC                     200900205     33,654      47,126           ‐           ‐           ‐             ‐           ‐      80,779          8,533      89,312             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3254          Pavilion at St. Luke Village, The                         PAVILION AT ST LUKE VLG FACILITY OPTS LLC   205113160     25,668           ‐      50,018           ‐      31,442        44,119           ‐     151,248         13,618     164,866             ‐       38,608            ‐          53,264              ‐            ‐        91,872
3250          Manor at Penn Village, The                                PENN VILLAGE FACILITY OPERATIONS LLC        205113850          ‐     117,654      57,953      83,920      28,687        34,803           ‐     323,017         32,790     355,807        48,557            ‐            ‐               ‐              ‐            ‐        48,557
3227          Pennknoll Village                                         PENNKNOLL VILLAGE FACILITY OPERATIONS LLC   205113884     12,772      34,876      73,009     135,943      32,888        35,460           ‐     324,947         31,236     356,183             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3111          Consulate Health Care of Pensacola                        PENSACOLA FACILITY OPERATIONS LLC           205113943      9,169      46,502      17,570      19,702      16,524        29,489           ‐     138,955         12,901     151,856             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3202          Pheasant Ridge Nursing and Rehab Center                   PHEASANT RIDGE FACILITY OPERATIONS LLC      205105665     15,000      25,099      41,562      50,353      17,458        39,359           ‐     188,830         17,333     206,163             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3117          Consulate Health Care of Port Charlotte                   PORT CHARLOTTE FACILITY OPERATIONS LLC      205114051     32,200      40,542      82,136     106,121      28,957        38,913           ‐     328,868         31,713     360,581             ‐            ‐            ‐               ‐              ‐            ‐             ‐
552           Oaks Rehabilitation and Healthcare Center, The            RILEY HEALTHCARE LLC                        200900279     45,320      17,052      17,841      14,247      35,419        13,318           ‐     143,197         15,133     158,330             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3118          Consulate Health Care of Safety Harbor                    SAFETY HARBOR FACILITY OPERATIONS LLC       205114096      9,747      45,490      19,536           ‐      20,219        24,569           ‐     119,561         10,641     130,202             ‐            ‐            ‐          35,111              ‐            ‐        35,111
3119          Consulate Health Care of Sarasota                         SARASOTA FACILITY OPERATIONS LLC            205122556      8,635           ‐           ‐      45,437           ‐        20,521           ‐      74,593          7,117      81,710             ‐       30,681       32,243               ‐         22,849            ‐        85,773
3209          Skyline Nursing and Rehabilitation Center                 SKYLINE FACILITY OPERATIONS LLC             205105696     48,548      74,334      95,402      59,849      22,525             ‐           ‐     300,658         31,429     332,087             ‐            ‐            ‐               ‐              ‐       24,030        24,030
3120          Consulate Health Care of St. Petersburg                   ST PETERSBURG FACILITY OPERATIONS LLC       205114123     10,115      64,260           ‐      62,093      16,767        25,402           ‐     178,636         17,683     196,320             ‐            ‐       25,286               ‐              ‐            ‐        25,286
556           Starkville Manor Health Care and Rehabilitation Center    STARKVILLE MANOR HEALTHCARE LLC             200900298          ‐      45,525      23,643      23,462         743        20,430           ‐     113,803          8,492     122,295        29,696            ‐            ‐               ‐              ‐            ‐        29,696
3112          Consulate Health Care of Tallahassee                      TALLAHASSEE FACILITY OPERATIONS LLC         205114238     19,151      26,245      23,412      44,105      68,729        82,609           ‐     264,251         23,716     287,968             ‐            ‐            ‐               ‐              ‐            ‐             ‐
303           Valley View Care and Rehabilitation Center                VALLEY VIEW HEALTHCARE LLC                  200905934     24,719      44,004      82,552      83,974      40,699         9,917           ‐     285,866         29,172     315,038             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3102          Consulate Health Care of Vero Beach                       VERO BEACH FACILITY OPERATIONS LLC          205114268     16,212           ‐     100,186     181,950      88,438        49,934           ‐     436,719         42,619     479,338             ‐      122,333            ‐               ‐              ‐            ‐       122,333
558           Walnut Cove Health and Rehabilitation Center              WALNUT COVE HEALTHCARE LLC                  200905961     11,748      15,061      24,760      54,453      34,970        21,471           ‐     162,462         13,614     176,075             ‐            ‐            ‐               ‐              ‐            ‐             ‐
560           Wellington Rehabilitation and Healthcare                  WELLINGTON HEALTHCARE LLC                   200905981          ‐      58,179      34,922      76,879      49,792        56,994           ‐     276,766         27,113     303,880       141,828            ‐            ‐               ‐              ‐            ‐       141,828
3110          Consulate Health Care at West Altamonte                   WEST ALTAMONTE FACILITY OPERATIONS LLC      205114358     91,172      43,340      49,045      58,589      47,755             ‐           ‐     289,902         30,050     319,952             ‐            ‐            ‐               ‐              ‐       24,697        24,697
3104          Consulate Health Care of West Palm Beach                  WEST PALM BEACH FACILITY OPERATIONS LLC     205114330     46,668     152,824      87,757      83,855     196,983       130,064           ‐     698,151         68,854     767,005             ‐            ‐            ‐               ‐              ‐            ‐             ‐
304           Westwood Health and Rehabilitation Center                 WESTWOOD HEALTHCARE LLC                     200906009      5,945      10,211      19,675      18,087       1,969        26,769           ‐      82,656          7,437      90,094             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3206          Consulate Health Care of Williamsburg                     WILLIAMSBURG FACILITY OPERATIONS LLC        205105956     24,612      88,201      27,934      82,742           ‐             ‐           ‐     223,489         22,662     246,151             ‐            ‐            ‐               ‐         23,030       21,680        44,710
564           Willowbrook Rehabilitation and Care Center                WILLOWBROOK HEALTHCARE LLC                  200906053          ‐      31,248      63,818      66,277      56,673        44,432           ‐     262,448         25,164     287,611         9,454            ‐            ‐               ‐              ‐            ‐         9,454
565           Wilora Lake Healthcare Center                             WILORA LAKE HEALTHCARE LLC                  200906081          ‐      52,716      19,833     100,898      30,517        13,013           ‐     216,977         20,929     237,906        14,622            ‐            ‐               ‐              ‐            ‐        14,622
3207          Consulate Health Care of Windsor                          WINDSOR FACILITY OPERATIONS LLC             205105990     66,669      63,990           ‐      20,192      13,328        17,496           ‐     181,676         19,117     200,792             ‐            ‐       13,688               ‐              ‐            ‐        13,688
566           Winona Manor Health Care and Rehabilitation Center        WINONA MANOR HEALTHCARE LLC                 200900306     23,085      77,689           ‐      93,068      68,179        29,032           ‐     291,053         28,776     319,829             ‐            ‐       76,772               ‐              ‐            ‐        76,772
3121          Consulate Health Care of Winter Haven                     WINTER HAVEN FACILITY OPERATIONS LLC        205114303     14,358      62,609      39,303      79,517      24,179        31,975           ‐     251,941         25,737     277,678             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3208          Consulate Health Care of Woodstock                        WOODSTOCK FACILITY OPERATIONS LLC           205106024     75,134      72,829      25,832      57,334      11,755        10,214           ‐     253,098         27,256     280,354             ‐            ‐            ‐               ‐              ‐            ‐             ‐
462           Beneva Lakes Health Care and Rehabilitation Center        741 SOUTH BENEVA ROAD OPERATIONS LLC        611665084     10,029      44,202      29,723      53,488      35,686        26,576           ‐     199,705         18,860     218,565             ‐            ‐            ‐               ‐              ‐            ‐             ‐
Grand Total                                                                                                                     2,929,397   5,596,063   4,985,415   7,100,767   4,471,043     3,925,985    34,666    29,043,336     2,807,042   31,850,378      595,679    1,021,247      677,430         760,088        324,516      388,998      3,767,959
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                                  EXHIBIT D

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                                                    U.S. Department of Justice



                                                    Tax Division
 Trial Attorney: Hana Bilicki                        Civil Trial Section, Southern Region
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 CMN 2024101044

 Sent By Email                                      November 12, 2024

 Daniel Simon
 McDermott Will & Emery
 1180 Peachtree St. NE, Suite 3350
 Atlanta, Georgia 30309


                  Re:     In re: LaVie Care Centers, LLC
                          Case No. 24-55507-PMB (Bankr. N.D. Ga.)

 Mr. Simon,

         We have reviewed your October 28, 2024, spreadsheet summarizing the Employee
 Retention Credits (“ERCs”) that the debtors have received and expect to receive. 133 of the 134
 debtors1 (“collective ERC debtors”) that received and/or are expecting to receive ERCs belong to
 the tax return entity FC Investors XXI, LLC (Entity ID **-***5705).

         Section 2301(d) of the CARES Act provides that all persons treated as a single employer
 under section 52(a) or (b) of the Code, or section 414(m) or (o) of the Internal Revenue Code,
 will be treated as a single employer for purposes of the Employee Retention Credit. We believe
 that the collective ERC debtors are a single employer for purposes of the ERC.

        Section 2301(c)(3)(A)(i) of the CARES Act provides that if an eligible employer
 averaged more than 100 full-time or full-time equivalent employees during 2019, they are
 considered a large eligible employer2. We reviewed the 2019 Forms 1094-C for a sample size of


 1
  Ashton Court Care and Rehabilitation Center belongs to the entity Transitional Health Partners
 (Entity ID **-***7988).
 2
  For 2021, if an eligible employer averaged more than 500 full-time or full-time equivalent
 employees during 2019, they are considered a large eligible employer. We believe that the
 collective ERC debtors are a large eligible employer under both the 2020 and 2021 standard.
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 seven debtors,3 each of which reported itself as a member of an Aggregated Applicable Large
 Employer Group4. Based on the sample pool alone, the combined seven debtors had an average
 of 457 full-time employees for 2019. Accordingly, we believe that the collective ERC debtors
 would be considered a large eligible employer for purposes of the Employee Retention Credit.

         Section 2301(a) of the CARES Act provides that the ERC amount is equal to 50 percent
 of qualified wages with respect to each employee for each applicable calendar quarter in 2020.5
 For large eligible employers, qualified wages are only those wages paid by the eligible employer
 with respect to which an employee is not providing services due to circumstances described in
 section 2301(c)(2)(A)(ii)(I) of the CARES Act (relating to a full or partial suspension of the
 operation of a trade or business due to a governmental order) or section 2301(c)(2)(A)(ii)(II) of
 the CARES Act (relating to a significant decline in gross receipts).6

         First, to the extent you disagree that the collective ERC debtors are not considered a large
 eligible employer, please state the basis for your disagreement, and identify the facts and
 documents that you rely on to support your position.

        Second, please identify the facts and documents that show that the collective ERC
 debtors’ claimed ERCs were based upon wages paid for an employee not providing services for
 each period at issue.

         These items of information, along with an agreement to extend the governmental claims
 bar date to January 31, 2025, will allow the IRS to determine its claims in this bankruptcy as


 3
  We reviewed the 2019 Forms 1094-C for 9335 San Jose Boulevard, 6305 Cortez Road West,
 1465 Oakfield Drive, Norfolk Facility Operations LLC, Kissimmee Facility Operations LLC,
 Willowbrook Healthcare LLC, and Winona Manor Healthcare LLC.
 4
   These are filed for purposes of the employer shared responsibility provisions of the Affordable
 Care Act. For the Form 1094-C, for purposes of determining if an employer or group of
 employers is an Applicable Large Employer, all ALE Members under common control (an
 Aggregated ALE Group) are aggregated together. If the Aggregated ALE Group, taking into
 account the employees of all ALE Members in the group, employed on average 50 or more full-
 time employees (including full-time equivalent employees) on business days during the
 preceding calendar year, then the Aggregated ALE Group is an Applicable Large Employer and
 each separate employer within the group is an ALE Member. Each ALE Member is required to
 file Forms 1094-C and 1095-C reporting offers of coverage to its full-time employees (even if
 the ALE Member has fewer than 50 full-time employees of its own).
 5
  For 2021, the credit amount is equal to 70 percent for qualified wages paid between January 1
 and June 30, 2021.
 6
   For large eligible employers, section 2301(c)(3)(B) of the CARES Act limits qualified wages
 that may be taken into account to the amount that the employee would have been paid for
 working an equivalent duration during the 30 days immediately preceding the period in which
 the qualified wages are paid or incurred.
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 related to the $31,850,378 in already disbursed funds related to the ERCs and the additional
 $3,767,959 in outstanding ERCs that the debtors expect to receive. Otherwise, based on the
 information we currently have, we may need to protectively amend the IRS’s proofs of claim to
 include an estimated claim totaling $31,850,378 in erroneous refunds.

                                                    Sincerely,

                                                    /s/ Hana Bilicki
                                                    Hana Bilicki
                                                    Trial Attorney
                                                    Department of Justice, Tax Division
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                                  EXHIBIT E

                             Nov. 27 Response Letter
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                                                                                                                             mwe.com

                                                                                                                      Daniel Simon
                                                                                                                    Attorney at Law
                                                                                                                 dsimon@mwe.com
                                                                                                                   +1 404 260 8554




November 27, 2024

VIA EMAIL

Hana Bilicki
Trial Attorney
Department of Justice, Tax Division

Re:      In re: LaVie Care Centers, LLC
         Case No. 24-55507-PMB (Bankr. N.D. Ga.)

Dear Ms. Bilicki:

This letter responds to your correspondence dated November 12, 2024 and November 19, 2024, as well
as our phone conference on November 22, 2024, regarding the claims for the employee retention credit
(the “ERC”) submitted by entities within the LaVie Care Centers, LLC controlled group for 2020 and
2021.

The Debtors retained Synergi Partners to assist with analyzing their eligibility for the ERC and calculating
the amount of the ERC claimed by the eligible employers within the Debtor’s controlled group.

      1. The Debtors were a Large Employer for Purposes of the ERC.

The Debtors were a large employer for purposes of claiming the ERC in 2020 (with more than 100 full-
time employees in 2019) and 2021 (with more than 500 full-time employees in 2019).

Attached as Exhibit A is a spreadsheet showing the amount of the ERC received and claimed by each of
the eligible employers within the Debtor’s controlled group.

      2. Qualified Wages for Purposes of the ERC are Wages Paid by Large Employers to
         Employees Not Providing Services.

Wages for purposes of the ERC are generally defined as Social Security wages as reflected in Box 3 of
the Form W-2, except that these wages may be increased by the employer’s healthcare expenses allocated
to each employee, e.g., nontaxable premiums and/or COBRA coverage.

As a large employer for both 2020 and 2021, qualified wages for the Debtors were all wages paid to
employees for the time that the employees were “not providing services” due to the COVID-19 economic
hardship period.

                              1180 Peachtree Street NE Suite 3350 Atlanta GA 30309 Tel +1 404 260 8535 Fax +1 404 393 5260

                              US practice conducted through McDermott Will & Emery LLP.
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Hana Bilicki
November 27, 2024
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The Debtors used a decline in patients served due to COVID-19 mandated reductions in business
operations as a reasonable means to calculate the portion of employee wages for which employees were
not providing services. Attached as Exhibit B is the reduction in patients served calculated by month for
each eligible employer that was used to calculate the portion of each employee’s wages that were qualified
wages for purposes of claiming the ERC (i.e., wages for which the employees were not providing
services).

Attached as Exhibit C is a memorandum from Synergi Partner’s legal counsel at DLA Piper setting forth
the legal basis for using a decline in patients served as a reasonable means to calculate wages for which
employees were not providing services.

Federal, state and local governments considered most medical facilities, including the Debtors, “essential
businesses” for purposes of many COVID-19 directives. As a result, stay-at-home and shelter-in place
directives, generally allowed medical care facilities to continue their essential operations. That fact
notwithstanding, to help slow the spread of COVID-19, certain state and local governments required
essential businesses such as the Debtors to comply with directives from the Centers for Disease Control
and Prevention (the “CDC”) and other governmental entities to implement safeguards to protect against
the spread of COVID-19.

We trust that this letter, including the Exhibits, is responsive to your request for additional information.

Sincerely,



Daniel Simon

cc:    Emily Keil
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 Exhibit A
LaVie Care Centers, LLC, et al.
Summary of ERCs Received and Outstanding

                                                                                                                                                                                       ERC Checks Received                                                                                             ERC Outstanding
                                                                                                                                                                                                                          Total       Interest      Grand                                                                                             Total
FAC ID       DBA                                                               Legal Name                                        FEIN                                                                                                                           2Q20 ERC     3Q20 ERC     4Q20 ERC        1Q21 ERC       2Q21 ERC     3Q21 ERC
                                                                                                                                           2Q20       3Q20       4Q20       1Q21       2Q21          3Q21       4Q21       ERC        Received      Total                                                                                          Outstanding
411          University Hills Health and Rehabilitation                        10040 HILLVIEW ROAD OPERATIONS LLC              371654496     12,721     24,295     37,878     82,966     37,487        22,291         ‐     217,638        20,625     238,264            ‐            ‐            ‐               ‐              ‐            ‐             ‐
430          Wedgewood Healthcare Center                                       1010 CARPENTERS WAY OPERATIONS LLC              364716312     29,978          ‐     26,917          ‐     38,937        45,485         ‐     141,317        12,405     153,722            ‐       48,439            ‐          62,699              ‐            ‐       111,139
425          Bay Breeze Health and Rehabilitation Center                       1026 ALBEE FARM ROAD OPERATIONS LLC             383858193     14,302     25,360     35,066     34,013     25,445        48,233         ‐     182,420        16,889     199,309            ‐            ‐            ‐               ‐              ‐            ‐             ‐
446          Lakeside Oaks Care Center                                         1061 VIRGINIA STREET OPERATIONS LLC             320358871      8,381     48,424     15,727          ‐     19,454        24,201    34,666     150,853        13,401     164,253            ‐            ‐            ‐               ‐              ‐            ‐             ‐
418          Englewood Healthcare and Rehabilitation Center                    1111 DRURY LANE OPERATIONS LLC                  364714694          ‐          ‐     12,033     55,029     19,344        18,970         ‐     105,376        10,080     115,456        8,475       14,877            ‐               ‐              ‐            ‐        23,353
428          Keystone Rehabilitation and Health Center                         1120 WEST DONEGAN AVENUE OPERATIONS LLC         371654964     29,099     47,920     31,635     37,661     24,561        38,500         ‐     209,375        19,405     228,780            ‐            ‐            ‐               ‐              ‐            ‐             ‐
439          Harts Harbor Health Care Center                                   11565 HARTS ROAD OPERATIONS LLC                 352428092     40,674     24,674     71,442          ‐     72,165        24,749         ‐     233,705        21,643     255,348            ‐            ‐            ‐         108,179              ‐            ‐       108,179
447          Spring Hill Health and Rehabilitation Center                      12170 CORTEZ BOULEVARD OPERATIONS LLC           300706977     76,270     32,941     71,829     39,974     39,436        37,991         ‐     298,442        29,387     327,829            ‐            ‐            ‐               ‐              ‐            ‐             ‐
433          Island Health and Rehabilitation Center                           125 ALMA BOULEVARD OPERATIONS LLC               383858306     18,635     65,663     51,475     38,270     23,638        38,910         ‐     236,591        22,981     259,572            ‐            ‐            ‐               ‐              ‐            ‐             ‐
415          Heron Pointe Health and Rehabilitation                            1445 HOWELL AVENUE OPERATIONS LLC               352428213     12,060     60,587     18,938     25,376     21,296        28,729         ‐     166,987        15,788     182,775            ‐            ‐            ‐               ‐              ‐            ‐             ‐
407          Brandon Health and Rehabilitation Center                          1465 OAKFIELD DRIVE OPERATIONS LLC              320358612     12,013     35,548     20,242          ‐     26,050        34,536         ‐     128,389        11,091     139,480            ‐            ‐            ‐          32,191              ‐            ‐        32,191
416          Magnolia Health and Rehabilitation Center                         1507 SOUTH TUTTLE AVENUE OPERATIONS LLC         371654971          ‐     23,922     21,461     30,602     12,985             ‐         ‐      88,971         8,128      97,098       10,064            ‐            ‐               ‐              ‐        9,990        20,055
453          Colonial Lakes Health Care                                        15204 WEST COLONIAL DRIVE OPERATIONS LLC        371653462      9,455     97,431     86,734     63,513     27,462        34,857         ‐     319,452        31,652     351,104            ‐            ‐            ‐               ‐              ‐            ‐             ‐
450          Vista Manor                                                       1550 JESS PARRISH COURT OPERATIONS LLC          352428780          ‐     55,486     40,273     21,553     19,606        32,800         ‐     169,719        16,706     186,424       17,216            ‐            ‐               ‐              ‐            ‐        17,216
423          Harbor Beach Nursing and Rehabilitation Center                    1615 MIAMI ROAD OPERATIONS LLC                  300706236      3,988     10,959     14,882     23,352     22,750        11,849         ‐      87,780         8,083      95,863            ‐            ‐            ‐               ‐              ‐            ‐             ‐
481          Health and Rehabilitation Centre at Dolphins View, The            1820 SHORE DRIVE OPERATIONS LLC                 611666246          ‐     34,052      6,531          ‐     10,547         6,577         ‐      57,707         5,746      63,453       19,463            ‐            ‐          19,174              ‐            ‐        38,636
413          Deltona Health Care                                               1851 ELKCAM BOULEVARD OPERATIONS LLC            800768116          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐       18,862       86,695       24,856          31,573         37,133       50,688       249,807
414          Destin Healthcare and Rehabilitation Center                       195 MATTIE M KELLY BOULEVARD OPERATIONS LLC     900775960     10,760     27,648     31,989     39,013     18,412        24,285         ‐     152,108        13,699     165,806            ‐            ‐            ‐               ‐              ‐            ‐             ‐
409          Coral Trace Health Care                                           216 SANTA BARBARA BOULEVARD OPERATIONS LLC      800768096     19,466     23,666     20,550     34,472     44,560        45,072         ‐     187,785        16,790     204,575            ‐            ‐            ‐               ‐              ‐            ‐             ‐
424          Health Center at Brentwood                                        2333 NORTH BRENTWOOD CIRCLE OPERATIONS LLC      300707193     18,760     38,894     36,917     40,658     23,976        35,303         ‐     194,508        17,900     212,408            ‐            ‐            ‐               ‐              ‐            ‐             ‐
441          SeaView Nursing and Rehabilitation Center                         2401 NE 2ND STREET OPERATIONS LLC               383858020      6,881     12,974     45,383     37,457     33,061        48,565         ‐     184,320        17,297     201,617            ‐            ‐            ‐               ‐              ‐            ‐             ‐
432          Heritage Park Rehabilitation and Healthcare                       2826 CLEVELAND AVENUE OPERATIONS LLC            611666359     80,300    201,538     76,056    152,236    105,125       122,199         ‐     737,453        75,626     813,079            ‐            ‐            ‐               ‐              ‐            ‐             ‐
448          Habana Health Care Center                                         2916 HABANA WAY OPERATIONS LLC                  611665516     29,317    139,655     47,400     56,447     45,495        51,347         ‐     369,661        36,030     405,691            ‐            ‐            ‐               ‐              ‐            ‐             ‐
466          Coral Bay Healthcare and Rehabilitation                           2939 SOUTH HAVERHILL ROAD OPERATIONS LLC        800768119     47,130     91,345     32,739     61,603     57,296             ‐         ‐     290,113        28,729     318,842            ‐            ‐            ‐               ‐              ‐       42,342        42,342
438          Grand Oaks Health and Rehabilitation Center                       3001 PALM COAST PARKWAY OPERATIONS LLC          383857454      8,299          ‐     27,465     63,014     31,128        50,065         ‐     179,971        16,871     196,842            ‐       26,656            ‐               ‐              ‐            ‐        26,656
427          Heritage Healthcare Center at Tallahassee                         3101 GINGER DRIVE OPERATIONS LLC                300707332      9,465     33,930     47,779     37,199     11,995        33,848         ‐     174,216        15,901     190,118            ‐            ‐            ‐               ‐              ‐            ‐             ‐
464          The SWAN Center at Oakbridge                                      3110 OAKBRIDGE BOULEVARD OPERATIONS LLC         300707729          ‐     19,656     21,618      6,196      7,525         3,175         ‐      58,170         4,987      63,157        2,402            ‐            ‐               ‐              ‐            ‐         2,402
419          Evans Health Care                                                 3735 EVANS AVENUE OPERATIONS LLC                352427163     16,835          ‐     34,182          ‐     23,552        79,342         ‐     153,911        13,502     167,412            ‐      101,483            ‐          58,194              ‐            ‐       159,676
410          Countryside Rehab and Healthcare Center                           3825 COUNTRYSIDE BOULEVARD OPERATIONS LLC       900775956      8,916     66,362     31,274     41,236     86,005        44,441         ‐     278,233        26,106     304,340            ‐            ‐            ‐               ‐              ‐            ‐             ‐
444          Rosewood Health and Rehabilitation Center                         3920 ROSEWOOD WAY OPERATIONS LLC                900777086          ‐          ‐          ‐     75,627          ‐             ‐         ‐      75,627         7,740      83,367       31,539       96,871       61,523               ‐         44,485       49,549       283,967
451          Hillcrest Health Care and Rehabilitation Center                   4200 WASHINGTON STREET OPERATIONS LLC           300707346    110,375    147,712    115,075    182,744     95,493       102,862         ‐     754,262        74,994     829,256            ‐            ‐            ‐               ‐              ‐            ‐             ‐
442          Plantation Bay Rehabilitation Center                              4641 OLD CANOE CREEK ROAD OPERATIONS LLC        900777064     41,574     47,434     42,979     54,441     36,206        52,889         ‐     275,522        25,875     301,397            ‐            ‐            ‐               ‐              ‐            ‐             ‐
435          Shoal Creek Rehabilitation Center                                 500 SOUTH HOSPITAL DRIVE OPERATIONS LLC         611666089     10,983     62,476     35,211     50,912     27,084        26,451         ‐     213,117        20,785     233,902            ‐            ‐            ‐               ‐              ‐            ‐             ‐
452          Renaissance Health and Rehabilitation                             5065 WALLIS ROAD OPERATIONS LLC                 800769064     75,379     47,465     44,125     75,431     35,749        56,280         ‐     334,429        33,064     367,492            ‐            ‐            ‐               ‐              ‐            ‐             ‐
420          Fletcher Health and Rehabilitation Center                         518 WEST FLETCHER AVENUE OPERATIONS LLC         900776108     28,360    114,002          ‐          ‐     20,199        32,093         ‐     194,654        19,573     214,227            ‐            ‐       25,477          32,283              ‐            ‐        57,760
437          Palms Rehabilitation and Healthcare Center, The                   5405 BABCOCK STREET OPERATIONS LLC              371655153     22,110          ‐     24,498     80,399     41,695        39,561         ‐     208,264        19,090     227,353            ‐       68,793            ‐               ‐              ‐            ‐        68,793
421          Fort Pierce Health Care                                           611 SOUTH 13TH STREET OPERATIONS LLC            320359064     20,897          ‐     67,168     93,253     66,075        70,165         ‐     317,559        30,146     347,705            ‐      136,271            ‐               ‐              ‐            ‐       136,271
417          Emerald Shores Health and Rehabilitation                          626 NORTH TYNDALL PARKWAY OPERATIONS LLC        352427139     13,598     27,290     27,554          ‐     23,667             ‐         ‐      92,109         8,264     100,372            ‐            ‐            ‐          56,966              ‐       22,049        79,015
406          Bradenton Health Care                                             6305 CORTEZ ROAD WEST OPERATIONS LLC            300705718     78,862    113,476     69,175     84,437     53,299        31,691         ‐     430,939        45,001     475,940            ‐            ‐            ‐               ‐              ‐            ‐             ‐
468          Wood Lake Health and Rehabilitation Center                        6414 13TH ROAD SOUTH OPERATIONS LLC             352428783     15,327     27,550     52,422     76,596     58,283        20,191         ‐     250,369        23,654     274,024            ‐            ‐            ‐               ‐              ‐            ‐             ‐
445          Oaktree Healthcare                                                650 REED CANAL ROAD OPERATIONS LLC              611666689      5,939     17,537     37,896     21,004      9,561        23,817         ‐     115,755        10,920     126,675            ‐            ‐            ‐               ‐              ‐            ‐             ‐
434          North Florida Rehabilitation and Specialty Care                   6700 NW 10TH PLACE OPERATIONS LLC               364716114      4,600     39,186     51,106     36,191     62,250        70,101         ‐     263,434        24,500     287,934            ‐            ‐            ‐               ‐              ‐            ‐             ‐
463          Central Park Healthcare and Rehabilitation Center                 702 SOUTH KINGS AVENUE OPERATIONS LLC           383857011     19,236     66,282     25,207     24,431     31,316        47,433         ‐     213,904        19,910     233,814            ‐            ‐            ‐               ‐              ‐            ‐             ‐
429          Lake Mary Health and Rehabilitation Center                        710 NORTH SUN DRIVE OPERATIONS LLC              352428407     25,975     48,437     52,089     47,735     37,149        47,850         ‐     259,234        24,064     283,298            ‐            ‐            ‐               ‐              ‐            ‐             ‐
426          Heritage Healthcare and Rehabilitation Center                     777 NINTH STREET NORTH OPERATIONS LLC           383858199     45,128    123,499     28,053     59,833     33,546        10,728         ‐     300,787        31,418     332,205            ‐            ‐            ‐               ‐              ‐            ‐             ‐
443          Rio Pinar Health Care                                             7950 LAKE UNDERHILL ROAD OPERATIONS LLC         900777078     33,684    125,464    107,848     68,729     60,218        72,231         ‐     468,174        46,138     514,312            ‐            ‐            ‐               ‐              ‐            ‐             ‐
431          Bardmoor Oaks Healthcare and Rehabilitation Center (frm Largo)    9035 BRYAN DAIRY ROAD OPERATIONS LLC            364715950     11,201          ‐     49,547     32,425     14,808         9,227         ‐     117,208        11,044     128,252            ‐       90,894            ‐               ‐              ‐            ‐        90,894
465          Parks Healthcare and Rehabilitation Center, The                   9311 SOUTH ORANGE BLOSSOM TRAIL OPERATIONS LL   800770038     39,562     61,601     76,445     53,879     77,479        71,172         ‐     380,138        36,504     416,642            ‐            ‐            ‐               ‐              ‐            ‐             ‐
405          San Jose Health and Rehabilitation Center                         9355 SAN JOSE BOULEVARD OPERATIONS LLC          800769084      7,188     20,617          ‐     62,813     26,270        20,621         ‐     137,510        13,010     150,520            ‐            ‐       19,225               ‐              ‐            ‐        19,225
3210         Ashland Nursing & Rehabilitation Center                           ASHLAND FACILITY OPERATIONS LLC                 205065966          ‐     59,518     45,526    194,005     17,531        22,616         ‐     339,195        32,816     372,011       29,156            ‐            ‐               ‐              ‐            ‐        29,156
501          Ashton Court Care and Rehabilitation Centre                       ASHTON COURT HEALTHCARE LLC                     200900123          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐       75,534            ‐            ‐               ‐              ‐            ‐        75,534
3200         Augusta Nursing and Rehab Center                                  AUGUSTA FACILITY OPERATIONS LLC                 205104011     13,145     30,260          ‐     34,429          ‐        29,442         ‐     107,276         9,723     116,999            ‐            ‐       31,554               ‐         25,323            ‐        56,877
1078         Baya Pointe Nursing and Rehabilitation Center                     BAYA NURSING AND REHABILITATION LLC             461570112     19,729     26,202     50,082     19,327     19,268        18,125         ‐     152,733        14,074     166,807            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3113         Consulate Health Care of Bayonet Point                            BAYONET POINT FACILITY OPERATIONS LLC           205109197      7,843     89,909     25,983     23,417     25,095        23,211         ‐     195,459        19,272     214,731            ‐            ‐            ‐               ‐              ‐            ‐             ‐
502          Heritage Manor of Bossier                                         BOSSIER HEALTHCARE LLC                          200875159     12,497      9,944     21,812     67,382     21,467        28,675         ‐     161,776        15,273     177,050            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3107         Consulate Health Care of Brandon                                  BRANDON FACILITY OPERATIONS LLC                 205109231          ‐          ‐          ‐     41,723     23,862        56,317         ‐     121,903        11,347     133,249       26,731       28,580       36,470               ‐              ‐            ‐        91,781
401          Brentwood Retirement Community                                    BRENTWOOD MEADOW HEALTH CARE ASSOCIATES LLC     582639492      6,676     16,690      8,111          ‐     20,979        14,316         ‐      66,772         6,096      72,869            ‐            ‐            ‐          23,381              ‐            ‐        23,381
504          Cardinal Healthcare and Rehabilitation Center                     CARDINAL NORTH CAROLINA HEALTHCARE LLC          200900368      3,613     11,840     40,615     25,772     17,645        12,685         ‐     112,171        10,954     123,124            ‐            ‐            ‐               ‐              ‐            ‐             ‐
505          Cary Health and Rehabilitation Center                             CARY HEALTHCARE LLC                             200905436          ‐      6,657     12,576     32,914     14,239        15,454         ‐      81,840         8,397      90,237        6,398            ‐            ‐               ‐              ‐            ‐         6,398
470          Brookshire, The                                                   CATALINA GARDENS HEALTH CARE ASSOCIATES LLC     260220976     10,443     19,062     22,074     48,614     34,949        19,847         ‐     154,989        15,417     170,406            ‐            ‐            ‐               ‐              ‐            ‐             ‐
508          Clay County Care Center                                           CLAY COUNTY HEALTHCARE LLC                      200905506     67,903     19,952     33,496    115,113     62,098        29,000         ‐     327,562        33,447     361,009            ‐            ‐            ‐               ‐              ‐            ‐             ‐
403          Keystone Villas Assisted Living Center                            DONEGAN SQUARE HEALTH CARE ASSOCIATES           582639494      2,862      6,248      5,818     13,261     15,641        22,440         ‐      66,270         6,163      72,433            ‐            ‐            ‐               ‐              ‐            ‐             ‐
404          Villas at Lakeside Oaks, The                                      EDINBOROUGH SQUARE HEALTH CARE ASSOCIATES LLC   582639495        867      2,549      2,709     10,038      7,890         3,602         ‐      27,655         2,636      30,291            ‐            ‐            ‐               ‐              ‐            ‐             ‐
513          Emerald Ridge Rehabilitation and Care Center                      EMERALD RIDGE HEALTHCARE LLC                    200905569     10,704     25,901          ‐    100,188     89,237        29,811         ‐     255,841        24,431     280,272            ‐            ‐       95,593               ‐              ‐            ‐        95,593
3211         Envoy of Alexandria                                               ENVOY OF ALEXANDRIA LLC                         263644169     99,523     99,275     52,600          ‐          ‐        22,563         ‐     273,961        28,905     302,866            ‐            ‐            ‐          46,782         38,793            ‐        85,575
3212         Bonview Rehabilitation and Healthcare                             ENVOY OF FOREST HILLS LLC                       263644246     20,452          ‐     60,208     45,277     75,191        24,989         ‐     226,117        14,167     240,284            ‐       41,173            ‐               ‐              ‐            ‐        41,173
3213         Envoy at the Village                                              ENVOY OF FORK UNION LLC                         263644310     46,070     14,528     14,528      9,822     14,568         9,677         ‐     109,193        11,391     120,583            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3214         Envoy at the Meadows                                              ENVOY OF GOOCHLAND LLC                          263644361      7,117     11,148      9,375     29,644     50,476        17,189         ‐     124,949        11,540     136,489            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3215         Envoy of Lawrenceville                                            ENVOY OF LAWRENCEVILLE LLC                      263644400          ‐          ‐          ‐          ‐          ‐             ‐         ‐           ‐             ‐           ‐        6,288       14,172       16,116          13,510         14,891       10,679        75,656
3216         Envoy of Westover Hills                                           ENVOY OF RICHMOND LLC                           263644488     14,481     18,434     31,226          ‐    108,481        29,644         ‐     202,266        18,395     220,660            ‐            ‐            ‐         123,368              ‐            ‐       123,368
3258         Siemon's Lakeview Manor Nursing and Rehabilitation Center         ENVOY OF SOMERSET LLC                           371625920     35,979     47,900          ‐    108,915     75,680        47,223         ‐     315,696        30,687     346,384            ‐            ‐       64,451               ‐              ‐            ‐        64,451
3217         Envoy of Staunton                                                 ENVOY OF STAUNTON LLC                           263644536          ‐     21,796     24,634    209,730     82,042        50,512         ‐     388,715        36,427     425,142       34,046            ‐            ‐               ‐              ‐            ‐        34,046
3218         Envoy of Williamsburg                                             ENVOY OF WILLIAMSBURG LLC                       263644589     46,362     10,114     24,667     36,816     48,516        16,518         ‐     182,992        16,062     199,055            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3219         Envoy of Winchester                                               ENVOY OF WINCHESTER LLC                         263644649     20,852     28,971          ‐     32,113      8,219        13,672         ‐     103,828         9,812     113,640            ‐            ‐       58,101               ‐              ‐            ‐        58,101
3220         Envoy of Woodbridge                                               ENVOY OF WOODBRIDGE LLC                         263644689          ‐     72,355    105,774     30,857          ‐        15,228         ‐     224,214        22,422     246,636       38,969            ‐            ‐               ‐         24,736            ‐        63,705
515          Heritage Manor Health and Rehabilitation Center                   FERRIDAY HEALTHCARE LLC                         200875115      2,984     10,880     14,019     20,587     10,851        10,117         ‐      69,438         6,339      75,777            ‐            ‐            ‐               ‐              ‐            ‐             ‐
1080         Floridean Nursing and Rehabilitation Center, The                  FLORIDIAN FACILITY OPERATIONS LLC               472428106     21,972          ‐     39,151          ‐     32,062             ‐         ‐      93,184         8,213     101,398            ‐       36,643            ‐          63,415              ‐       33,309       133,367
301          Forrest Oakes Healthcare Center                                   FORREST OAKES HEALTHCARE LLC                    200905610      3,095     42,178     32,554     37,896     13,436         8,337         ‐     137,496        14,342     151,839            ‐            ‐            ‐               ‐              ‐            ‐             ‐
517          Heritage Manor of Franklinton                                     FRANKLINTON HEALTHCARE LLC                      200875206    143,370     27,087     45,025     39,366     16,365        21,950         ‐     293,162        31,334     324,497            ‐            ‐            ‐               ‐              ‐            ‐             ‐
519          Garden Court Health and Rehabilitation Center                     GARDEN COURT HEALTHCARE LLC                     200875068     27,399     12,088     31,011     19,786     41,215             ‐         ‐     131,499        12,905     144,404            ‐            ‐            ‐               ‐              ‐       30,326        30,326
520          Gateway Rehabilitation and Healthcare                             GATEWAY HEALTHCARE LLC                          200905642      7,326     27,305     14,674    103,127     28,773        16,563         ‐     197,768        17,975     215,743            ‐            ‐            ‐               ‐              ‐            ‐             ‐
521          Glenburney Health Care and Rehabilitation Center                  GLENBURNEY HEALTHCARE LLC                       200900219     24,408     16,505     14,645     27,726     21,204        17,300         ‐     121,787        11,300     133,087            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3205         Grayson Rehabilitation and Health Care Center                     GRAYSON FACILITY OPERATIONS LLC                 205105028      9,995     50,799     88,175     30,799     21,624        29,175         ‐     230,567        22,882     253,449            ‐            ‐            ‐               ‐              ‐            ‐             ‐
524          Hilltop Manor Health and Rehabilitation Center                    HILLTOP MISSISSIPPI HEALTHCARE LLC              200900236     14,030     51,070          ‐     22,954          ‐        13,262         ‐     101,316        10,242     111,558            ‐            ‐       16,208               ‐         19,005            ‐        35,212
526          Hunter Woods Nursing and Rehabilitation Center                    HUNTER WOODS HEALTHCARE LLC                     200905659     32,303     62,938     44,467    117,112     65,465        31,871         ‐     354,155        34,617     388,772            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3114         Consulate Health Care of Jacksonville                             JACKSONVILLE FACILITY OPERATIONS LLC            205108974          ‐     34,798     20,044     13,825     11,341        26,943         ‐     106,951         7,315     114,266       12,120            ‐            ‐               ‐              ‐            ‐        12,120
529          Transitional Health Services of Kannapolis                        KANNAPOLIS HEALTHCARE LLC                       200905909     14,352     47,518    138,977    144,268     78,957        16,807         ‐     440,879        44,032     484,911            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3204         Kings Daughters Community Health & Rehab                          KINGS DAUGHTERS FACILITY OPERATIONS LLC         205105233     12,480     21,341     78,666     82,160     27,537        15,289         ‐     237,473        23,013     260,486            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3115         Consulate Health Care of Kissimmee                                KISSIMMEE FACILITY OPERATIONS LLC               205109023     20,205     70,034     58,509     81,573     47,619        58,956         ‐     336,896        33,097     369,993            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3108         Consulate Health Care at Lake Parker                              LAKE PARKER FACILITY OPERATIONS LLC             205109064     14,468          ‐     18,855     24,866     21,822             ‐         ‐      80,010         7,320      87,330            ‐       38,077            ‐               ‐              ‐       19,014        57,091
3101         Consulate Health Care of Lakeland                                 LAKELAND FACILITY OPERATIONS LLC                205109103     63,935     41,521     48,533     61,856          ‐             ‐         ‐     215,845        21,794     237,639            ‐            ‐            ‐               ‐         20,826       17,220        38,046
3252         Locust Grove Retirement Village                                   LOCUST GROVE FACILITY OPERATIONS LLC            205109149     17,914     33,253     30,575    184,760     32,735        35,657         ‐     334,893        32,149     367,042            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3225         Luther Ridge at Seiders Hill                                      LUTHER RIDGE FACILITY OPERATIONS LLC            205111897     21,234     46,530     32,119     38,290     21,452        12,200         ‐     171,825        17,511     189,336            ‐            ‐            ‐               ‐              ‐            ‐             ‐
3224         Manor at St. Luke Village, The                                    MANOR AT ST LUKE VILLAGE FACILITY OPERATIONS    205111951     26,514    107,409     26,872     96,683     47,619        66,546         ‐     371,642        36,155     407,797            ‐            ‐            ‐               ‐              ‐            ‐             ‐
536          Courtyard Rehabilitation and Healthcare                           MCCOMB HEALTHCARE LLC                           200900260     14,414     64,293     50,976     24,989     25,278        24,257         ‐     204,207        19,854     224,061            ‐            ‐            ‐               ‐              ‐            ‐             ‐
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Summary of ERCs Received and Outstanding

                                                                                                                                                                                ERC Checks Received                                                                                                 ERC Outstanding
                                                                                                                                                                                                                     Total        Interest      Grand                                                                                              Total
FAC ID        DBA                                                       Legal Name                                    FEIN                                                                                                                                   2Q20 ERC     3Q20 ERC     4Q20 ERC        1Q21 ERC       2Q21 ERC     3Q21 ERC
                                                                                                                                2Q20        3Q20        4Q20        1Q21        2Q21          3Q21        4Q21        ERC         Received      Total                                                                                           Outstanding
3109          Consulate Health Care of Melbourne                        MELBOURNE FACILITY OPERATIONS LLC           205111992      9,792      70,912      53,314     115,239      59,165        52,525           ‐     360,947         34,721     395,668             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3106          Franco Nursing & Rehabilitation Center                    MIAMI FACILITY OPERATIONS LLC               205112030     28,440      82,243           ‐      64,784      36,544             ‐           ‐     212,011         21,196     233,207             ‐            ‐       79,867               ‐              ‐       33,426       113,292
3105          Consulate Health Care of New Port Richey                  NEW PORT RICHEY FACILITY OPERATIONS LLC     205112212     12,009      26,073      19,055      95,511      22,518        32,848           ‐     208,014         19,502     227,516             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3203          Newport News Nursing and Rehabilitation Center            NEWPORT NEWS FACILITY OPERATIONS LLC        205105591      6,527      18,934      31,511      49,618      15,341        26,332           ‐     148,262         13,948     162,210             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3201          Consulate Health Care of Norfolk                          NORFOLK FACILITY OPERATIONS LLC             205105634     26,328     103,853     102,319     117,182      28,998        33,463           ‐     412,143         40,394     452,537             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3103          Consulate Health Care of North Fort Myers                 NORTH FORT MYERS FACILITY OPERATIONS LLC    205112262     72,609      50,174      90,896     122,338           ‐        48,793           ‐     384,811         38,930     423,741             ‐            ‐            ‐               ‐         53,445            ‐        53,445
540           Oak Grove Healthcare Center                               OAK GROVE HEALTHCARE LLC                    200905695          ‐      17,121      87,777      40,435      17,822        30,978           ‐     194,133         19,229     213,362         6,485            ‐            ‐               ‐              ‐            ‐         6,485
541           Oaks at Sweeten Creek, The                                OAKS AT SWEETEN CREEK HEALTHCARE LLC        200905720     10,524      15,030     105,410      67,879     101,781        18,946           ‐     319,569         31,129     350,698             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3116          Consulate Health Care of Orange Park                      ORANGE PARK FACILITY OPERATIONS LLC         205112395      9,643      39,075      28,714      39,695      20,108        26,367           ‐     163,601         15,002     178,603             ‐            ‐            ‐               ‐              ‐            ‐             ‐
1079          Osprey Point Nursing Center                               OSPREY NURSING AND REHABILITATION LLC       461564762          ‐      21,083      16,526      26,850       9,416         9,183           ‐      83,058          7,915      90,974         7,773            ‐            ‐               ‐              ‐            ‐         7,773
547           Parkview Nursing and Rehabilitation Center                PARKVIEW HEALTHCARE LLC                     200900205     33,654      47,126           ‐           ‐           ‐             ‐           ‐      80,779          8,533      89,312             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3254          Pavilion at St. Luke Village, The                         PAVILION AT ST LUKE VLG FACILITY OPTS LLC   205113160     25,668           ‐      50,018           ‐      31,442        44,119           ‐     151,248         13,618     164,866             ‐       38,608            ‐          53,264              ‐            ‐        91,872
3250          Manor at Penn Village, The                                PENN VILLAGE FACILITY OPERATIONS LLC        205113850          ‐     117,654      57,953      83,920      28,687        34,803           ‐     323,017         32,790     355,807        48,557            ‐            ‐               ‐              ‐            ‐        48,557
3227          Pennknoll Village                                         PENNKNOLL VILLAGE FACILITY OPERATIONS LLC   205113884     12,772      34,876      73,009     135,943      32,888        35,460           ‐     324,947         31,236     356,183             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3111          Consulate Health Care of Pensacola                        PENSACOLA FACILITY OPERATIONS LLC           205113943      9,169      46,502      17,570      19,702      16,524        29,489           ‐     138,955         12,901     151,856             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3202          Pheasant Ridge Nursing and Rehab Center                   PHEASANT RIDGE FACILITY OPERATIONS LLC      205105665     15,000      25,099      41,562      50,353      17,458        39,359           ‐     188,830         17,333     206,163             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3117          Consulate Health Care of Port Charlotte                   PORT CHARLOTTE FACILITY OPERATIONS LLC      205114051     32,200      40,542      82,136     106,121      28,957        38,913           ‐     328,868         31,713     360,581             ‐            ‐            ‐               ‐              ‐            ‐             ‐
552           Oaks Rehabilitation and Healthcare Center, The            RILEY HEALTHCARE LLC                        200900279     45,320      17,052      17,841      14,247      35,419        13,318           ‐     143,197         15,133     158,330             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3118          Consulate Health Care of Safety Harbor                    SAFETY HARBOR FACILITY OPERATIONS LLC       205114096      9,747      45,490      19,536           ‐      20,219        24,569           ‐     119,561         10,641     130,202             ‐            ‐            ‐          35,111              ‐            ‐        35,111
3119          Consulate Health Care of Sarasota                         SARASOTA FACILITY OPERATIONS LLC            205122556      8,635           ‐           ‐      45,437           ‐        20,521           ‐      74,593          7,117      81,710             ‐       30,681       32,243               ‐         22,849            ‐        85,773
3209          Skyline Nursing and Rehabilitation Center                 SKYLINE FACILITY OPERATIONS LLC             205105696     48,548      74,334      95,402      59,849      22,525             ‐           ‐     300,658         31,429     332,087             ‐            ‐            ‐               ‐              ‐       24,030        24,030
3120          Consulate Health Care of St. Petersburg                   ST PETERSBURG FACILITY OPERATIONS LLC       205114123     10,115      64,260           ‐      62,093      16,767        25,402           ‐     178,636         17,683     196,320             ‐            ‐       25,286               ‐              ‐            ‐        25,286
556           Starkville Manor Health Care and Rehabilitation Center    STARKVILLE MANOR HEALTHCARE LLC             200900298          ‐      45,525      23,643      23,462         743        20,430           ‐     113,803          8,492     122,295        29,696            ‐            ‐               ‐              ‐            ‐        29,696
3112          Consulate Health Care of Tallahassee                      TALLAHASSEE FACILITY OPERATIONS LLC         205114238     19,151      26,245      23,412      44,105      68,729        82,609           ‐     264,251         23,716     287,968             ‐            ‐            ‐               ‐              ‐            ‐             ‐
303           Valley View Care and Rehabilitation Center                VALLEY VIEW HEALTHCARE LLC                  200905934     24,719      44,004      82,552      83,974      40,699         9,917           ‐     285,866         29,172     315,038             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3102          Consulate Health Care of Vero Beach                       VERO BEACH FACILITY OPERATIONS LLC          205114268     16,212           ‐     100,186     181,950      88,438        49,934           ‐     436,719         42,619     479,338             ‐      122,333            ‐               ‐              ‐            ‐       122,333
558           Walnut Cove Health and Rehabilitation Center              WALNUT COVE HEALTHCARE LLC                  200905961     11,748      15,061      24,760      54,453      34,970        21,471           ‐     162,462         13,614     176,075             ‐            ‐            ‐               ‐              ‐            ‐             ‐
560           Wellington Rehabilitation and Healthcare                  WELLINGTON HEALTHCARE LLC                   200905981          ‐      58,179      34,922      76,879      49,792        56,994           ‐     276,766         27,113     303,880       141,828            ‐            ‐               ‐              ‐            ‐       141,828
3110          Consulate Health Care at West Altamonte                   WEST ALTAMONTE FACILITY OPERATIONS LLC      205114358     91,172      43,340      49,045      58,589      47,755             ‐           ‐     289,902         30,050     319,952             ‐            ‐            ‐               ‐              ‐       24,697        24,697
3104          Consulate Health Care of West Palm Beach                  WEST PALM BEACH FACILITY OPERATIONS LLC     205114330     46,668     152,824      87,757      83,855     196,983       130,064           ‐     698,151         68,854     767,005             ‐            ‐            ‐               ‐              ‐            ‐             ‐
304           Westwood Health and Rehabilitation Center                 WESTWOOD HEALTHCARE LLC                     200906009      5,945      10,211      19,675      18,087       1,969        26,769           ‐      82,656          7,437      90,094             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3206          Consulate Health Care of Williamsburg                     WILLIAMSBURG FACILITY OPERATIONS LLC        205105956     24,612      88,201      27,934      82,742           ‐             ‐           ‐     223,489         22,662     246,151             ‐            ‐            ‐               ‐         23,030       21,680        44,710
564           Willowbrook Rehabilitation and Care Center                WILLOWBROOK HEALTHCARE LLC                  200906053          ‐      31,248      63,818      66,277      56,673        44,432           ‐     262,448         25,164     287,611         9,454            ‐            ‐               ‐              ‐            ‐         9,454
565           Wilora Lake Healthcare Center                             WILORA LAKE HEALTHCARE LLC                  200906081          ‐      52,716      19,833     100,898      30,517        13,013           ‐     216,977         20,929     237,906        14,622            ‐            ‐               ‐              ‐            ‐        14,622
3207          Consulate Health Care of Windsor                          WINDSOR FACILITY OPERATIONS LLC             205105990     66,669      63,990           ‐      20,192      13,328        17,496           ‐     181,676         19,117     200,792             ‐            ‐       13,688               ‐              ‐            ‐        13,688
566           Winona Manor Health Care and Rehabilitation Center        WINONA MANOR HEALTHCARE LLC                 200900306     23,085      77,689           ‐      93,068      68,179        29,032           ‐     291,053         28,776     319,829             ‐            ‐       76,772               ‐              ‐            ‐        76,772
3121          Consulate Health Care of Winter Haven                     WINTER HAVEN FACILITY OPERATIONS LLC        205114303     14,358      62,609      39,303      79,517      24,179        31,975           ‐     251,941         25,737     277,678             ‐            ‐            ‐               ‐              ‐            ‐             ‐
3208          Consulate Health Care of Woodstock                        WOODSTOCK FACILITY OPERATIONS LLC           205106024     75,134      72,829      25,832      57,334      11,755        10,214           ‐     253,098         27,256     280,354             ‐            ‐            ‐               ‐              ‐            ‐             ‐
462           Beneva Lakes Health Care and Rehabilitation Center        741 SOUTH BENEVA ROAD OPERATIONS LLC        611665084     10,029      44,202      29,723      53,488      35,686        26,576           ‐     199,705         18,860     218,565             ‐            ‐            ‐               ‐              ‐            ‐             ‐
Grand Total                                                                                                                     2,929,397   5,596,063   4,985,415   7,100,767   4,471,043     3,925,985    34,666    29,043,336     2,807,042   31,850,378      595,679    1,021,247      677,430         760,088        324,516      388,998      3,767,959
Exhibit B-1                                         Case 24-55507-pmb        Doc 751 Filed 12/10/24 Entered 12/10/24 22:53:16   Desc Main
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2020 Non-Service Time Percentages

        Department                  March   April         May      June             July   August      September                October     November   December
               301                    0%      0%           0%       0%               0%       10%            16%                    1%            2%        15%
               303                    0%      7%           9%       12%              5%       12%            34%                    36%          30%        31%
               304                    0%      0%           0%       0%               1%       0%             0%                     0%           10%         8%
               401                    0%      0%           2%           6%           2%       0%             0%                     0%            1%         3%
               403                    0%      0%           0%       0%               0%       0%             0%                     0%            3%         2%
               404                    0%      0%           3%           6%           0%       0%             0%                     6%            9%        11%
               405                     1%     0%           0%       0%               0%       0%              1%                    0%            2%        11%
               406                    0%      0%           8%       32%             25%       15%            16%                    21%          16%        13%
               407                    0%      0%           0%       0%               0%       0%             0%                     0%           0%         0%
               409                    10%     0%           0%       0%               0%       0%             0%                     0%           0%         0%
               410                    0%      0%           0%       0%               0%       0%             0%                     0%           0%         0%
               411                    0%      0%           0%       0%               0%       0%             0%                     0%           0%          9%
               413                    0%      0%           3%       0%               0%       10%             8%                    0%           0%         0%
               414                    0%      0%           2%       0%               4%       0%             0%                     0%           0%         0%
               415                    0%      0%           0%           1%           0%       0%             0%                     0%            1%         1%
               416                    0%      0%           0%       0%               0%       0%             0%                     0%           0%          7%
               417                    0%      1%           0%       0%               0%       0%              2%                    0%           0%          7%
               418                    0%      0%           0%       0%               0%       0%             0%                     0%           0%          0%
               419                    0%      0%           0%       0%               5%       1%              2%                    6%            3%        0%
               420                    0%      6%           4%           3%          12%       0%             0%                     0%            1%         1%
               421                    0%      0%           2%           0%           0%       3%              6%                    6%            7%         9%
               423                    0%      0%           0%       0%               0%       0%             0%                     6%           0%         0%
               424                    0%      4%           0%       0%               0%       1%             0%                     0%            3%        0%
               425                    0%      0%           0%       0%               0%       0%             0%                     11%           9%        0%
               426                    0%      0%           10%      42%             36%       15%             6%                    9%           0%          5%
               427                    0%      0%           0%       0%               0%       0%             0%                     0%            9%         3%
               428                     0%     8%           4%       0%               0%       0%             0%                     0%            5%         1%
               429                    0%      0%           0%       0%               0%       0%              8%                    7%            4%         0%
               430                     7%     1%           0%       0%               0%       0%             0%                     0%           0%          9%
               431                    0%      0%           0%       0%               0%       0%             0%                     0%           0%         0%
               432                    3%      6%           11%      5%              25%       36%            41%                    29%          20%        26%
               433                    0%      0%            0%      0%               0%        0%             0%                     9%           9%         1%
               434                    0%      0%           0%       0%               0%       0%             11%                    3%           11%        10%
               435                    0%      0%           0%       0%               0%       0%             0%                     2%           0%         10%
               436                    0%      0%           2%           4%           0%       0%             0%                     0%           15%        20%
               437                    0%      0%           3%       0%               0%       1%             0%                     1%            4%         1%
               438                    0%      0%           0%       0%               0%       0%              2%                    8%           0%          1%
               439                     3%     2%           0%       0%               0%       0%             0%                     1%           0%          1%
               440                    0%      0%           0%       0%               0%       0%             0%                     2%            5%         1%
               441                    0%      0%           0%       0%               0%       0%             0%                     1%           15%         7%
               442                     3%     3%           4%           4%           3%       0%             0%                     3%            2%        0%
               443                    0%      0%           0%       0%               0%       3%              4%                    7%            6%         4%
               444                     3%     0%           0%           2%           2%       12%            12%                    11%           7%         8%
               445                    0%      0%           0%       0%               0%       0%             0%                     16%          12%         4%
               446                    0%      0%           0%       0%               0%       0%             0%                     0%           0%          3%
               447                    0%      0%           0%       0%               0%       0%             0%                     0%            3%        0%
               448                    0%      0%           0%           1%           0%       10%            0%                     0%            3%         4%
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450     0%    0%           0%           9%           4%       14%           11%                    7%       11%    3%
451     0%    1%           0%       0%              0%        0%             0%                    0%       11%    11%
452     0%    0%           7%       0%              0%        0%             0%                    0%        2%    0%
453     0%    0%           0%       0%              0%        4%            14%                    11%      12%    7%
461     0%    0%           0%       0%              0%        0%             0%                    0%        0%    4%
462     0%    0%           0%       0%              0%        0%             1%                    1%        0%    0%
463     0%    3%           1%           3%          0%        9%             0%                    0%        0%    0%
464    100%   0%           0%       0%              0%        0%             0%                    0%        0%    0%
465     0%    2%           5%           6%           6%       10%            8%                    5%       10%    6%
466     0%    0%           0%           4%           5%       0%             0%                    0%        0%    0%
468     0%    0%           0%           2%          0%        0%             0%                    3%        8%    4%
470    10%    7%           7%       13%             0%        11%           18%                    5%       12%    15%
481     0%    0%           2%       24%              7%       9%             4%                    0%        0%    0%
501     6%    9%           0%      100%             0%        0%             0%                    0%        0%    0%
502     2%    7%           6%           1%          0%        0%             0%                    1%        4%    5%
504     0%    0%           0%       0%              0%        0%            11%                    9%       19%    32%
505     0%    0%           0%       0%               9%       7%             0%                    0%        0%    0%
508     4%    2%           8%           3%          0%        0%             0%                    4%        6%    10%
513     0%    0%           0%       0%               3%       1%             2%                    6%       22%    21%
515     0%    0%           1%       0%              0%        0%             0%                    0%        4%    6%
517     0%    0%           11%          6%           8%       2%             3%                    2%       10%    21%
519     4%    30%          0%       0%              0%        0%            22%                    5%        5%    4%
520     0%    0%           0%       0%              0%        0%             6%                    5%       11%    8%
521     0%    0%           0%       0%              0%        0%             0%                    0%        6%    0%
524     0%    0%           0%       0%               3%       13%            0%                    3%        2%    8%
526     0%    0%           0%       0%              0%        0%             1%                    8%        8%    2%
529     3%    1%           0%       0%              0%        0%             0%                    5%       20%    8%
536     0%    1%           0%       0%              0%        0%             8%                    4%        6%    6%
540     0%    0%           0%           4%          0%        0%             0%                    22%      34%    28%
541     6%    2%           0%       0%              0%        0%             0%                    2%       11%    8%
547     0%    0%           0%       0%             100%       0%             0%                    0%       100%   0%
549     0%    0%           0%       0%              0%        0%             0%                    0%        0%    0%
552     0%    0%           0%       12%             0%        0%             0%                    0%        9%    3%
556     0%    0%           1%       0%              0%        0%             0%                    0%        0%    0%
558     0%    2%           0%           6%          0%        0%             0%                    2%        8%    0%
560     2%    17%          31%      30%             23%       17%           28%                    28%      17%    17%
564     5%     0%           0%       5%              6%        4%            3%                     5%       5%     8%
565     0%    0%           0%       12%              6%       9%             0%                    3%        9%    12%
566     8%    7%           0%           1%           1%       2%            14%                    12%      15%    14%
1078    0%    6%           1%       0%              0%        0%             0%                    0%        3%    5%
1079    3%    1%           0%           3%          0%        6%             9%                    1%        0%    0%
1080    0%    0%           0%       0%               2%       1%             0%                    0%        0%    0%
2010    0%    0%           14%      0%              0%        0%             0%                    0%        0%    0%
2011    0%    0%           5%       22%             0%        0%             0%                    0%        0%    0%
2012    0%    0%           0%       0%              0%        0%             0%                    0%        6%    12%
2013    0%    0%           0%       0%              0%        1%             0%                    0%        0%    2%
2014    0%    0%           3%       0%              0%        2%             0%                    0%        0%    8%
3101    0%    3%           5%       0%              0%        0%             0%                    8%        8%    11%
3102    0%    0%           0%           2%           6%       8%            10%                    8%       13%    14%
3103    2%    0%           0%       0%               1%       9%            11%                    11%      11%    18%
3104    0%    0%           0%       10%             14%       0%             0%                    0%        0%    0%
                 Case 24-55507-pmb        Doc 751 Filed 12/10/24 Entered 12/10/24 22:53:16   Desc Main
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3105   0%   0%          0%       0%              0%        0%             0%                    0%       1%    0%
3106   0%   0%          0%       0%              0%        0%             3%                    8%       7%    5%
3107   0%   0%          0%           1%          0%        0%             0%                    0%       10%   6%
3108   1%   2%          0%       0%              0%        0%             0%                    0%       3%    0%
3109   0%   0%          0%       0%              0%        0%             2%                    3%       5%    6%
3110   0%   5%          18%          9%           5%       5%             1%                    12%      5%    4%
3111   0%   0%          0%       0%              0%        0%             0%                    0%       7%    0%
3112   0%   1%          3%       0%              0%        0%             0%                    0%       5%    0%
3113   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3114   4%   0%          0%       0%              0%        0%             0%                    0%       5%    0%
3115   0%   0%          3%           6%          0%        10%            7%                    12%      13%   10%
3116   0%   0%          0%       0%              0%        0%             0%                    1%       8%    10%
3117   1%   1%          8%           4%           5%       0%             6%                    8%       22%   19%
3118   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3119   0%   0%          0%       0%              0%        0%             8%                    5%       4%    8%
3120   0%   0%          0%       0%               6%       6%            10%                    1%       4%    8%
3121   0%   0%          0%           0%          0%        1%             0%                    0%       6%    9%
3130   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3131   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3200   0%   0%          0%       0%              0%        0%             0%                    0%       3%    0%
3201   0%   3%          0%       0%              0%        1%             2%                    12%      14%   13%
3202   0%   0%          2%       0%               2%       0%             0%                    4%       0%    0%
3203   0%   0%          0%       0%              0%        0%             0%                    2%       16%   0%
3204   2%   0%          0%       0%              0%        1%             0%                    1%       18%   20%
3205   0%   0%          0%       0%              0%        0%            12%                    16%      8%    3%
3206   0%   0%          10%          5%          0%        0%             1%                    0%       1%    8%
3207   1%   0%          10%      12%              5%       4%             2%                    1%       0%    0%
3208   8%   0%          18%      45%             30%       16%            5%                    8%       13%   8%
3209   0%   0%          0%       0%              0%        0%            16%                    20%      19%   10%
3210   0%   0%          0%       0%              0%        0%             0%                    0%       0%    20%
3211   0%   0%          14%      16%             9%        13%            8%                    6%       4%     6%
3212   0%   2%           0%       0%             0%         0%            0%                    0%       6%    10%
3213   0%   0%          14%      21%             11%       3%             0%                    0%       0%    0%
3214   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3215   0%   0%          1%           4%          0%        0%             0%                    6%       4%    0%
3216   1%   0%          0%       0%              0%        0%             0%                    0%       0%    9%
3217   3%   5%          1%           2%          0%        1%             0%                    0%       0%    17%
3218   0%   3%          0%           6%          0%        0%             0%                    0%       3%    9%
3219   8%   2%          0%       0%              0%        0%             0%                    0%       10%   19%
3220   5%   0%          1%       0%               8%       7%             7%                    6%       16%   14%
3224   0%   0%          0%       0%              0%        0%             0%                    0%       0%    0%
3225   9%   4%          1%       8%              14%       21%           19%                    18%      15%    9%
3227   1%   0%          0%       0%               0%        0%            0%                     0%       2%   22%
3250   0%   0%          0%       0%               5%       3%             0%                    17%      16%   8%
3252   0%   0%          0%           1%          0%        0%             0%                    0%       0%    10%
3254   0%   0%          3%           4%           4%       0%             0%                    0%       0%    0%
3258   6%   0%          3%           2%           2%       0%             5%                    0%       0%    0%
Exhibit B-2                     Case 24-55507-pmb      Doc 751 Filed 12/10/24 Entered 12/10/24 22:53:16    Desc Main
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2021 Non-Service Time Percentages

    Location        January         February   March       April      May         June       July         August   September
      301             12%             12%       1%          0%        0%           0%         0%           0%         0%
      303             29%             22%       15%        17%        3%           0%         0%           0%         1%
      304             2%               0%       0%          0%        5%           8%         7%           2%         0%
      401             0%               0%       1%          4%        4%           0%         0%           0%         0%
      403             0%               7%       4%          8%        8%          16%         9%           0%         0%
      404             20%             16%       13%        12%        18%         14%         3%           7%         2%
      405             1%               8%       7%          1%        4%           2%         0%           0%         0%
      406             6%              10%       2%          3%        8%           6%         3%           0%         0%
      407             0%               0%       0%          0%        0%           0%         0%           0%         0%
      409             0%               0%       5%          1%        7%           5%         2%           3%         0%
      410             0%               0%       44%        21%        12%          9%         8%           0%         10%
      411             2%              11%       8%          0%        0%           0%         0%           0%         0%
      413             0%               0%       0%          0%        0%           0%         0%           0%         0%
      414             1%               0%       1%          0%        0%           0%         0%           0%         0%
      415             0%               0%       0%          0%        0%           0%         0%           0%         0%
      416             0%               0%       0%          0%        0%           0%         0%           0%         0%
      417             0%               0%       0%          0%        0%           0%         0%           0%         0%
      418             2%               0%       5%          0%        0%           0%         0%           0%         0%
      419             1%               2%       2%          0%        0%           0%         4%           0%         0%
      420             0%               0%       0%          0%        0%           0%         0%           0%         0%
      421             4%               0%       6%          3%        3%           0%         1%           1%         0%
      423             0%               0%       0%          0%        13%          0%         0%           0%         5%
      424             0%               0%       0%          0%        0%           0%         0%           0%         0%
      425             1%               6%       0%          0%        5%           3%        12%           2%         0%
      426             4%              10%       10%         8%        0%           0%         0%           0%         0%
      427             0%               0%       0%          0%        0%           0%         0%           0%         0%
      428             0%               0%       1%          0%        0%           0%         0%           0%         0%
      429             0%               2%       4%          0%        0%           0%         0%           0%         0%
      430             1%               0%       0%          0%        3%           0%         1%           0%         0%
      431             0%               0%       0%          0%        0%           0%         0%           0%         0%
      432             20%             17%       20%        19%        21%         17%        36%           83%        85%
      433             3%               0%       0%          0%        0%           0%         5%           0%         0%
      434             0%               0%       1%          5%        8%          13%         5%           0%         0%
      435             0%               1%       0%          0%        0%           0%         0%           0%         0%
      436             8%               9%       10%        12%        5%           0%         0%           0%         0%
      437             2%               7%       0%          0%        0%           0%         0%           0%         0%
      438             8%               7%       2%          0%        4%           0%         1%           0%         3%
      439             2%              17%       17%        10%        1%           0%         0%           0%         0%
      440             0%               0%       0%          0%        0%           0%         0%           6%         2%
      441             0%               8%       2%          9%        4%           9%        15%           3%         0%
      442             0%               2%       0%          1%        0%           0%         0%           0%         0%
      443             0%               0%       0%          0%        0%           0%         0%           3%         7%
      444             6%               0%       3%          1%        1%           3%         2%           0%         0%
      445             0%               0%       0%          0%        0%           0%         0%           0%         0%
      446             0%               0%       0%          0%        0%           0%         0%           0%         0%
      447             0%               0%       0%          0%        4%           0%         0%           0%         0%
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 448   0%      0%        0%          0%          0%         0%         0%           0%          2%
 450   0%      0%        0%          0%          0%         5%         0%           0%          0%
 451   7%      6%        0%          5%          5%         5%         2%           0%          0%
 452   3%      0%        0%          0%          0%         0%         0%           0%          0%
 453   0%      2%        0%          0%          0%         0%         0%           0%          0%
 461   0%      0%        0%          0%          0%         0%         0%           0%          0%
 462   0%      7%        2%          0%          0%         0%         0%           0%          0%
 463   0%      0%        0%          0%          0%         6%         6%           0%          0%
 465   0%      5%        4%          12%         9%         6%         11%          10%         1%
 466   0%      0%        3%          0%          0%         0%         0%           0%          0%
 468   3%      7%        6%          7%          4%         1%         0%           0%          0%
 470   33%     23%       15%         13%         11%        23%        0%           17%         0%
 481   6%      0%        0%          0%          0%         1%         0%           0%          0%
 501   0%      0%        0%          0%          0%         0%         0%           0%          0%
 502   14%     11%       9%          1%          0%         0%         7%           7%          5%
 504   0%      4%        0%          4%          0%         0%         0%           0%          0%
 505   0%      0%        0%          0%          0%         0%         0%           0%          0%
 508   10%     21%       18%         4%          3%         11%        0%           0%          1%
 513   16%     18%       14%         15%         12%        6%         3%           0%          0%
 515   5%      0%        0%          0%          0%         3%         0%           0%          0%
 517   0%      0%        0%          0%          0%         0%         0%           0%          0%
 519   0%      0%        11%         35%         1%         0%         14%          0%          11%
 520   9%      4%        2%          5%          2%         0%         0%           0%          0%
 521   0%      0%        0%          0%          0%         0%         0%           0%          0%
 524   2%      0%        0%          3%          0%         0%         0%           0%          0%
 526   13%     9%        14%         8%          6%         6%         3%           0%          0%
 529   14%     27%       23%         14%         8%         0%         0%           0%          0%
 536   0%      0%        0%          0%          0%         0%         0%           0%          0%
 540   6%      1%        1%          3%          0%         0%         4%           7%          7%
 541   1%      9%        20%         18%         12%        0%         0%           0%          0%
 547   0%      0%        0%          0%          0%         0%         0%           0%          0%
 549   0%      0%        0%          0%          0%         0%         0%           0%          0%
 552   0%      5%        0%          8%          13%        7%         0%           0%          0%
 556   0%      0%        0%          0%          0%         0%         0%           0%          0%
 558   0%      15%       8%          8%          0%         0%         0%           0%          1%
 560   13%     12%       15%         11%         0%         1%         8%           7%          17%
 564   15%     12%       13%         6%          7%         8%         10%          4%          7%
 565   20%     14%       14%         3%          0%         5%         1%           0%          0%
 566   10%     9%        13%         10%         9%         4%         8%           0%          0%
1078   0%      0%        0%          0%          0%         0%         0%           0%          0%
1079   0%      0%        0%          0%          0%         0%         0%           0%          0%
1080   0%      4%        2%          0%          0%         0%         1%           3%          0%
2010   0%      14%       23%         9%          6%         7%         5%           5%          5%
2011   0%      0%        12%         11%         1%         3%         12%          13%         0%
2012   0%      0%        0%          0%          0%         0%         0%           0%          0%
2013   0%      0%        0%          0%          0%         0%         0%           0%          0%
2014   0%      0%        0%          0%          0%         0%         0%           0%          0%
3101   8%      0%        0%          0%          0%         0%         1%           0%          1%
3102   11%     11%       17%         14%         4%         0%         2%           0%          0%
             Case 24-55507-pmb   Doc 751 Filed 12/10/24 Entered 12/10/24 22:53:16   Desc Main
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3103   13%     16%       10%         3%          0%         0%         0%           0%          0%
3104   0%      0%        51%         29%         31%        42%        33%          17%         4%
3105   1%      0%        0%          0%          0%         0%         0%           0%          0%
3106   9%      4%        0%          1%          0%         0%         0%           0%          0%
3107   0%      0%        0%          0%          0%         5%         8%           3%          0%
3108   0%      0%        5%          2%          0%         0%         0%           0%          0%
3109   5%      5%        5%          4%          5%         0%         0%           0%          0%
3110   9%      3%        3%          5%          6%         0%         0%           0%          0%
3111   0%      0%        0%          0%          0%         0%         0%           0%          0%
3112   0%      1%        13%         8%          11%        6%         7%           5%          8%
3113   0%      0%        0%          0%          0%         0%         0%           0%          0%
3114   0%      0%        0%          0%          0%         0%         0%           0%          0%
3115   9%      7%        8%          5%          5%         2%         2%           4%          0%
3116   1%      0%        0%          0%          0%         0%         0%           0%          0%
3117   8%      9%        10%         8%          0%         0%         1%           0%          10%
3118   0%      0%        0%          0%          0%         0%         0%           0%          0%
3119   3%      7%        1%          1%          0%         0%         0%           0%          0%
3120   1%      12%       11%         0%          0%         1%         5%           3%          6%
3121   2%      5%        3%          1%          0%         0%         0%           0%          0%
3130   0%      0%        0%          0%          0%         0%         0%           0%          0%
3131   0%      0%        0%          0%          0%         0%         0%           0%          0%
3200   0%      0%        0%          0%          0%         0%         0%           0%          0%
3201   2%      6%        3%          0%          0%         0%         0%           0%          0%
3202   0%      0%        0%          0%          0%         3%         4%           2%          0%
3203   0%      0%        1%          0%          0%         0%         0%           0%          0%
3204   0%      9%        9%          1%          0%         0%         0%           0%          0%
3205   0%      1%        0%          0%          0%         0%         0%           0%          0%
3206   5%      2%        0%          0%          0%         0%         0%           0%          1%
3207   0%      0%        0%          0%          0%         0%         0%           0%          0%
3208   14%     24%       16%         0%          0%         0%         0%           0%          0%
3209   5%      4%        3%          0%          3%         1%         0%           0%          0%
3210   19%     15%       4%          0%          0%         0%         0%           0%          0%
3211   0%      3%        3%          0%          0%         0%         0%           0%          0%
3212   0%      0%        6%          11%         0%         0%         0%           0%          0%
3213   0%      0%        4%          3%          0%         0%         0%           0%          0%
3214   0%      0%        12%         13%         7%         5%         0%           2%          0%
3215   0%      0%        0%          0%          0%         0%         0%           0%          0%
3216   12%     5%        17%         10%         6%         6%         0%           0%          0%
3217   22%     23%       19%         11%         0%         0%         5%           3%          7%
3218   5%      0%        0%          2%          14%        0%         0%           0%          0%
3219   0%      0%        0%          0%          0%         0%         0%           0%          0%
3220   0%      0%        5%          0%          0%         0%         0%           0%          0%
3224   0%      1%        0%          0%          0%         0%         0%           0%          0%
3225   12%     11%       14%         11%         2%         3%         0%           0%          0%
3227   12%     14%       9%          0%          0%         0%         0%           0%          0%
3250   1%      6%        4%          0%          0%         0%         0%           0%          0%
3252   30%     19%       5%          4%          0%         0%         0%           2%          2%
3254   0%      9%        3%          0%          0%         0%         0%           0%          0%
3258   6%      14%       11%         6%          4%         1%         0%           0%          0%
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Exhibit C




 MEMORANDUM
 TO:            Greg Hayes
                Chief Financial Officer
                Synergy Healthcare Solutions
                1040 Crown Pointe Parkway, Suite 600
                Atlanta, GA 20338

 FROM:          Evan Migdail



 DATE:          November 20, 2024

 RE:            Cares Act Employee Retention Credit (ERC)


         This is in response to the request by the U.S. Department of Justice Tax Division for the
 basis for Synergi’s computation of qualified wages for LaVie Care Centers, LLC, for purposes of
 claiming the Cares Act Employee Retention Credit (ERC).

         In the case of a large employer, the ERC applies to the portion of wages paid to the
 employees during the period(s) of time when those employees are not providing services due to
 circumstances that caused the eligible employer to have sustained a full or partial suspension of
 operations due to a governmental order related to COVID-19 or due to a significant decline in
 gross receipts.1

        The Cares Act was passed by Congress in a national health emergency in less than two
 weeks with no consideration by the substantive committees of Congress (neither the House Ways
 and Means not the Senate Finance Committees ever considered the legislation) and with no
 substantive discussion of its tax provisions during floor debate (in fact, later extensions of the
 Cares Act ERC provisions were considered in the same manner). Given confusion over the
 application of the “not providing services” requirement, on March 31, 2020, Senate Finance




 1
     CARES Act § 2301(c)(3)(A)(i).


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 Committee Chairman Charles Grassley (R-Iowa) provided a detailed and authoritative explanation
 of how the rule should apply:2

         If an employee is providing services on a reduced schedule, wages paid to the employee
         are only treated as qualified wages if they exceed what the employee would have otherwise
         been paid for the reduced services performed. In that case, employers will receive a credit
         for the difference between the total wages paid to the employee and the amount the
         employer would have paid for the reduced hours or services actually provided by the
         employee. (Emphasis added).

        Senate Finance Committee Chairman Grassley’s articulation should carry significant
 weight because the source of the Grassley document is the Senate Finance Committee that
 authored the ERC and is the only pronouncement on the issue by Congress. As noted below, IRS
 ERC guidance reflects Chairman Grassley’s position.

        Senate Finance Committee Chairman Grassley’s emphasis on both reduced hours and
 reduced services underscores that the two are not synonymous concepts. The reduced hour concept
 addresses situations where the employer tracks the hours employees work pre- and during COVID
 and can determine the specific hours in which the employees are not working at all.

        The reduced services concept recognizes situations where employees perform services of
 a nature that they would not have normally performed, or performed such atypical services less
 frequently, pre-pandemic. This paradigm is reflected in IRS guidance issued after March 31, 2020,
 and best illustrated in IRS Notice 2021-20, Q&A #36, Example 2:

         Employer H’s non-exempt salaried employees cannot perform their usual services of
         delivering and installing furniture to be used in staging houses because open houses are
         prohibited in its service area during the second quarter of 2020. However, the employees
         are required to provide Employer H with periodic status updates about furniture that has
         been leased out and other administrative matters. Employer H continues to pay wages to
         employees as if they continued to work their typical work hours even though the employees
         cannot provide their normal services. Using a reasonable method, Employer H determined
         that its employees are working 20 percent of their typical work hours…. Employer H may
         treat 80 percent of the wages paid as qualified wages for purposes of the [ERC]. (Emphasis
         added).




 2
     United States Senate Committee on Finance, Chairman’s News, “CARES Act: Employee Retention Credit FAQ,”
     March 31, 2020, available at https://www.finance.senate.gov/chairmans-news/cares-act-employee-retention-
     credit-faq (accessed Sept. 30, 2021).


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         This example underscores the legislative intent that the ERC is meant to “prevent as many
 layoffs as possible and keep workers on the job.”3 Specifically, while the home staging employer
 could terminate the employees because they no longer provide “core” services for which they were
 hired, or provide less of such services, the employer chooses to retain such employees.
 Accordingly, notwithstanding the fact that the employees continue to “work” during the pandemic,
 their wages qualify for the ERC as “wages paid…with respect to which an employee is not
 providing services.”

          IRS guidance suggests situations when it may be appropriate to utilize the reduced hours
 versus reduced services. For example, it may be appropriate to determine qualified wages of hourly
 employees by examining wages paid for hours not worked. Notice 2021-20, Q&A #36, Example
 1, illustrates such a situation. There, the employer is a manufacturer that was fully suspended due
 to COVID. The employer continues to pay the hourly employees who were not providing services
 at the closed locations 50 percent of their normal hourly wage rates. For these employees, IRS
 concluded that the employer may treat 50 percent of wages paid as qualified wages. The employer
 also reduced headquarters’ administrative staff hours by 40 percent but continues to pay them at
 100 percent of their normal hourly wage rates. For these employees, the IRS concluded that the
 employer may treat 40 percent of wages paid as wages paid for time not providing services, and
 thus as qualified wages.

        IRS guidance provides that the employer may use any reasonable method to determine
 wages paid with respect to which the employees are not providing services.4 One example of a
 reasonable method is to analyze the time records maintained by the employees, as illustrated in
 IRS Notice 2021-20, Q&A #37, Example 1:

         Employer I, a large eligible employer operating a fitness club business, closed all of its
         locations in City B due to a governmental order issued by the City B’s mayor. Employer I
         continues to pay its exempt managerial employees their regular salaries. While the clubs
         are closed and there is not sufficient administrative work to occupy the managerial
         employees full-time, they continue to perform some accounting and similar administrative
         functions. Employer I has determined, based on the time records maintained by the
         employees, that they are providing services for 10 percent of their typical work hours…. In

 3
     U.S. Senate Committee on Finance’s Press Release, “Wyden Announces Retention Credit To Keep Workers On
     The Job” (March 25, 2020), available at https://www.finance.senate.gov/ranking-members-news/wyden-
     announces-retention-credit-to-keep-workers-on-the-job (accessed Sept. 25, 2021). See also, Congressional
     Research Services, “COVID-19: The Employee Retention Tax Credit” (May 12, 2020), available at
     https://crsreports.congress.gov/product/pdf/IN/IN11299 (accessed Sept. 30, 2021) (“The [ERC] reduces the after-
     tax cost of compensating an employee. Because employees cost less, firms are presumably willing to pay for more
     hours and retain more employees than they would absent the credit. When businesses keep individuals employed
     these individuals continue to earn income, reducing unemployment compensation expenditures and helping to
     maintain individuals’ incomes.”).
 4
     IRS Notice 2021-20, Q&As #36 and #37.


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         this case, 90 percent of the wages paid to these employees during the period the clubs were
         closed are qualified wages. (Emphasis added).

         Time record analysis, however, is not the only reasonable method to determine wages paid
 for services not provided. This is especially the case for employers who may not have established
 protocols pre-pandemic that track employee time spent on each activity in their day. IRS guidance
 does not prescribe any specific methodology that employers must use, nor does it prioritize one
 methodology over another. In fact, IRS Notice 2021-20 provides an open list of examples of
 reasonable methods employers may apply.

     Examples of reasonable methods with respect to non-exempt employees who do not have a
 fixed schedule of work, according to Notice 2021-20, include the following:

     •    The method that the large eligible employer would use to determine the employee’s
          entitlement to leave under the Family and Medical Leave Act would be a reasonable
          method; and

     •    The method(s) that the Department of Labor has prescribed to determine the number of
          hours for which an employee with an irregular schedule is eligible for paid sick leave under
          FFCRA.5

       Examples of reasonable methods with respect to exempt employees, according to Notice
 2021-20, includes the following:

     •   The method(s) the employer uses to measure exempt employees’ entitlement to leave on
         an intermittent or reduced leave schedule under the Family and Medical Leave Act; and

     •   The method the employer uses to measure exempt employees’ entitlement to and usage of
         paid leave under the employer’s usual practices.6

         The list of reasonable methods described above is not exhaustive, nor is it a “closed” list.

        A reasonable method to determine wages paid for services not provided may differ by each
 employee class. IRS Notice 2021-20, Q&A #36, Example 1, discussed above, illustrates this
 approach. There, the IRS distinguished between the reduction in services with respect to the
 manufacturing and administrative staff.

        Using this guidance, LaVie Care Centers used a “work task study” as a proxy to determine
 reduced wages for time not providing services. That study matched the decline in patient census

 5
     IRS Notice 2021-20, Q&A #36.
 6
     IRS Notice 2021-20, Q&A #37.


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 due to COVID mandated reductions in business operations in each qualifying quarter with the
 corresponding quarter in 2019 to determine the reduction in services provided. The study broke
 down these reductions by location and by job category, and the not providing services percentage
 so determined was applied to the wage base.

        In this regard the wage base included regular wages as well as PTO and sick pay that was
 used by employees when absent from work due to COVID quarantine and recovery requirements
 under governmental orders.7

        Supporting documents prepared by Synergi and supporting these computations are
 attached.




 7
      PTO and sick pay are wages under the regular definition of wages in the Internal Revenue Code which is cross-
 referenced in the ERC statute. Cares Act section 2301(c)(5).


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